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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                       EASTERN DIVISION AT COLUMBUS

  In re: OHIO EXECUTION
   PROTOCOL LITIGATION,                                     Case No. 2:11-cv-1016

                                                            Chief Judge Edmund A. Sargus, Jr.
                                                            Magistrate Judge Michael R. Merz
  This Order relates to Plaintiffs
   Alva Campbell                                            Execution Scheduled 11/15/2017
   and Raymond Tibbetts                                     Execution Scheduled 02/13/2018




                                     DECISION AND ORDER


         This method-of-execution case, brought pursuant to 42 U.S.C. § 1983, is before the Court

  for decision of Plaintiff Tibbetts’s Second Motion for a Stay of Execution, a Temporary

  Restraining Order, and a Preliminary Injunction (ECF No. 1261) and Plaintiff Campbell’s

  Amended Motion for a Stay of Execution, a Temporary Restraining Order, and a Preliminary

  Injunction (ECF No. 1262). Defendants oppose the Motions (ECF Nos. 1282 & 1283) and

  Plaintiffs have filed a Joint Reply in support (ECF No. 1289). The Court heard testimony on the

  Motions October 23-27, 2017, and received written closing arguments (ECF Nos. 1354, 1355).



  Jurisdictional Statement



         The Court has subject matter jurisdiction of this case under 28 U.S.C. §§ 1331 and 1343.

  Tibbetts and Campbell have each consented to plenary magistrate judge jurisdiction under 28

  U.S.C. § 636(c)(ECF Nos. 732. 938); the Defendants have also consented as to these two
                                                1
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  Plaintiffs (ECF Nos. 732, 942), and Chief Judge Sargus has referred the case on that basis (ECF

  Nos. 734, 943).

          The relevant pleadings are Tibbetts’s Fourth Amended Complaint (“Tibbetts 4AC”, ECF

  No. 691) and Campbell’s Fourth Amended Complaint (“Campbell 4AC”, ECF No. 978).1

  Tibbetts pleads forty-eight Causes of Action, but his Motion is limited to seeking relief on his

  Fourth (Equal Protection), and Twentieth, Twenty-Second, Fortieth, and Forty-First (Eighth

  Amendment) claims. Campbell pleads forty-seven Causes of Action, but seeks relief in his

  Motion only on his Fourth (Equal Protection), and Twentieth and Twenty-First (Eighth

  Amendment) claims. At the end of the hearing on the motions, Campbell sought to add claims

  based on his individual physical characteristics (ECF No. 1350) which the Court has denied by

  separate order (ECF No. 1356)

          The findings of fact and conclusions of law required by Fed. R. Civ. P. 52 are embodied

  in this Decision and Order. They are not binding at trial on the merits or at future preliminary

  injunction proceedings. United States v. Edward Rose & Sons, 384 F.3d 258, 261 (6th Cir. 2014),

  citing Univ. of Texas v. Camenisch, 451 U.S. 390, 395 (1981). Because of the prolixity of filings

  (ninety-five with 7,392 pages since the motions for preliminary injunction were filed) and the

  need for extreme haste in preparing this decision, it lacks the precision of reference to the record

  which this Magistrate Judge is accustomed to providing the reader.




  1
   Campbell is named as a Plaintiff in the Omnibus Fourth Amended Complaint (ECF No. 1252), but his counsel
  confirmed during the October 2, 2017, conference call that his inclusion there was in error.

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  Litigation History



          This case and its predecessors,2 brought by most of Ohio’s death row inmates, have been

  pending in this Court since very shortly after the Supreme Court allowed method-of-execution

  claims to be brought under § 1983. Nelson v. Campbell, 541 U.S. 637 (2004). District Judge

  Gregory Frost managed this litigation from its inception until his retirement in May 2016.

          On December 5, 2011, with the agreement of counsel, Judge Frost consolidated all lethal

  injection method-of-execution § 19833 cases in this District, ordering:

                  Nature of agreement. In light of the then-anticipated filing of new
                  complaints by numerous additional Ohio death row inmates who
                  were not currently involved in the existing litigation, counsel for
                  many of the plaintiffs proposed adopting procedures culled from
                  multidistrict litigation, class action litigation, and mass tort
                  litigation. Given the sheer number of plaintiffs that were either
                  going to attempt intervention or file a new case, the parties and the
                  Court therefore agreed to the filing of a new case and bifurcated
                  pleading in which the majority of the new plaintiffs would file one
                  omnibus complaint that sets forth all common factual allegations
                  and claims and individualized supplemental complaints that set
                  forth individualized factual allegations and individualized claims.
                  It was agreed that the Court would then consolidate all the
                  execution protocol cases under that new case number and close the
                  four original cases on the docket so that the parties would be able
                  to proceed under only one case. This led to the November 2011
                  filing that created Case No. 2:11-cv-1016.



  2
   Cooey v. Kasich, Case No. 2:04-cv-1156), Hartman v. Kasich, Case No. 2:09-cv-242, Brown v. Kasich, Case No.
  2:09-cv-283, and Reynolds v. Kasich, Case No. 2:10-cv-027
  3
    Many death row inmates have also pleaded method-of-execution claims in habeas corpus under
  Adams v. Bradshaw, 644 F.3d 481 (6th Cir. 2011); Adams v. Bradshaw, 817 F.3d 284 (6th Cir.
  March 15, 2016); and Adams v. Bradshaw, 826 F.3d 306 (6th Cir. June 13, 2016), cert. den. sub.
  nom. Adams v. Jenkins, 137 S. Ct. 814, 106 L. Ed. 2d 602 (2017), referred to herein as Adams I,
  Adams II, and Adams III respectively. The viability of these claims in habeas is gravely in doubt
  in light of In re Campbell, ___ F.3d ___, 2017 U.S. App. LEXIS 21094 (6th Cir. Oct. 25, 2017).

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  Cooey v. Kasich, Case No. 2:04-cv-1156, ECF No. 1067, PageID 31061-62.

          In the same Order, Judge Frost set a bench trial date of August 13, 2012, but no trial has

  ever been held in this case or its predecessors. Over time since 2004, Judge Frost granted

  injunctive relief to some Plaintiffs and denied it to others, with varying results on appeal.4 The

  pattern has been of hurried litigation of preliminary injunction motions, with executions when

  relief was denied either in this Court or on appeal, rendering moot the claims of those executed

  (See, e.g., ECF Nos. 675, 1130, and 1251). There has never been a final judgment in the case;5

  appeals have all been on the grant or denial of preliminary injunctive relief, except for the

  interlocutory protective order appeal mentioned below.

          There was a hiatus in Ohio executions after that of Dennis McGuire on January 16, 2014.

  Concerned about obtaining drugs for use in executions, the Ohio General Assembly, at the

  urging of Attorney General DeWine, adopted H.B. 663 (codified At Ohio Revised Code §§

  2949.221 and 2949.222) to provide confidentiality to suppliers of execution drugs and sought a

  protective order in this case for that information. Judge Frost upheld the constitutionality of the

  new statutes (Phillips v. DeWine, 92 F. Supp. 3d 702 (S.D. Ohio 2015), granted the protective

  order (ECF No. 629), certified that order for interlocutory appeal, and stayed the case pending

  appeal. Id. at PageID 19411-12.



  4
    In his last preliminary injunction decision, In re Ohio Execution Protocol Litigation (McGuire), 994 F. Supp. 2d
  906, 908, n.2 (S.D. Ohio 2014), Judge Frost referred the reader to the following cases for history: In re Ohio
  Execution Protocol Litigation (Phillips), No. 2:11-cv-1016, 2013 U.S. Dist. LEXIS 159680, 2013 WL 5963150
  (S.D. Ohio Nov. 7, 2013); In re Ohio Execution Protocol Litigation (Hartman), 906 F. Supp. 2d 759 (S.D. Ohio
  2012); In re Ohio Execution Protocol Litigation (Wiles), 868 F. Supp. 2d 625 (S.D. Ohio 2012); In re Ohio
  Execution Protocol Litigation (Lorraine), 840 F. Supp. 2d 1044 (S.D. Ohio 2012); Cooey (Brooks) v. Kasich, Nos.
  2:04-cv-1156, 2:09-cv-242, 2:09-cv-823, 2:10-cv-27, 2011 U.S. Dist. LEXIS 128192, 2011 WL 5326141 (S.D. Ohio
  Nov. 4, 2011); and Cooey (Smith) v. Kasich, 801 F. Supp. 2d 623 (S.D. Ohio 2011).
  5
    Except that the Court issued a Fed. R. Civ. P. 54 (b) judgment on claims of Plaintiffs Campbell, Tibbetts, and Otte
  under the Ohio Corrupt Practices Act. In re Ohio Execution Protocol Litig., 2017 U.S. Dist. LEXIS 107468, 115583
  & 121545 (S.D. Ohio Jul 12, July 25, and Aug. 22017), aff’d. sub. nom. Otte v. Kasich, 2017 U.S. App. LEXIS
  17436 (6th Cir. Sept. 7, 2017).

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          Without awaiting the results of either of those appeals, Ohio announced a new execution

  protocol October 7, 2016, and scheduled executions at approximately one-month intervals to

  begin in January 2017 with former Plaintiff Ronald Phillips.6 The Court7 then vacated the stay

  as to Plaintiffs Phillips, Tibbetts, and Otte and set an aggressive schedule to prepare for a

  preliminary injunction hearing on those three Plaintiffs’ motions in early January 2017.

          On November 2, 2016, the Sixth Circuit held death row inmates lacked standing to attack

  H.B. 663, affirming Judge Frost’s dismissal of the attack on that legislation. Phillips v. DeWine,

  841 F.3d 405 (6th Cir. 2016), cert den. sub nom. Tibbetts v. Dewine, 2017 U.S. LEXIS 5564 (Oct.

  2, 2017). The circuit court upheld the protective order. Fears v. Kasich, 845 F.3d 231 (6th Cir.

  2016), cert. den. 2017 U.S. LEXIS 5875 (Oct. 2, 2017).

          After hearing five days of testimony in January 2017, this Court preliminarily enjoined

  the executions of Phillips, Tibbetts, and Otte. In re: Ohio Execution Protocol Litig., 235 F.

  Supp. 3d 892 (S.D. Ohio, Jan. 26, 2017). Although affirmed by the hearing panel, that decision

  was reversed by the en banc Sixth Circuit, Fears v. Morgan, 860 F.3d 881 (6th Cir. 2017); cert

  den. sub nom. Otte v. Morgan, ___ U.S. ___, 137 S. Ct. 2238 (2017). Phillips was executed the

  day after certiorari was denied. This Court denied Otte’s renewed preliminary injunction motion

  (ECF No. 1168, denied at ECF No. 1226). He took no appeal and was executed September 13,

  2017. The instant Motions were then filed on behalf of the next two Plaintiffs scheduled to be

  executed.8




  6
    Phillips was then scheduled for January 12, 2017; Tibbetts for February 15, 2017; and former Plaintiff Gary Otte
  for March 15, 2017.
  7
    After Judge Frost’s retirement, the case was randomly reassigned to Chief Judge Sargus; the Magistrate Judge
  reference had earlier been transferred to the undersigned.
  8
    Although Tibbetts had been scheduled for execution in October 2017, Governor Kasich reprieved him on
  September 1, 2017, to February 13, 2018 (ECF No. 1193).

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  General Standard for Preliminary Injunctive Relief and Stay of Execution



         In determining whether preliminary injunctive relief is merited in a capital § 1983 case, a

  trial or appellate court must apply the following established standards:

                 (1) whether [plaintiff] has demonstrated a strong likelihood of
                 success on the merits; (2) whether he will suffer irreparable injury
                 in the absence of equitable relief; (3) whether the stay will cause
                 substantial harm to others; and (4) whether the public interest is
                 best served by granting the stay. Workman v. Bredesen, 486 F.3d
                 896, 905 (6th Cir. 2007); [N.E.]. Ohio Coal. for Homeless & Serv.
                 Employees Int'l Union, Local 1199 v. Blackwell, 467 F.3d 999,
                 1009 (6th Cir. 2006). "These factors are not prerequisites that must
                 be met, but are interrelated considerations that must be balanced
                 together." Mich. Coal. of Radioactive Material Users, Inc. v.
                 Griepentrog, 945 F.2d 150, 153 (6th Cir. 1991).

  Cooey (Biros) v. Strickland, 589 F.3d 210, 218 (6th Cir. 2009). Judge Frost applied these criteria

  when granting relief to Plaintiff Charles Lorraine.           In re: Ohio Execution Protocol

  Litig.(Lorraine), 840 F. Supp. 2d 1044, 1048 (S.D. Ohio 2012). The Sixth Circuit consistently

  applies these criteria to preliminary injunctive relief requests across subject matter areas,

  Overstreet v. Lexington-Fayette Urban Co. Gov't, 305 F.3d 566, 573 (6th Cir. 2002); Nightclubs,

  Inc. v. City of Paducah, 202 F.3d 884, 888 (6th Cir. 2000); Washington v. Reno, 35 F.3d 1093,

  1099 (6th Cir. 1994); NAACP v. City of Mansfield, 866 F.2d 162, 166 (6th Cir. 1989); Frisch's

  Restaurant, Inc. v. Shoney's, Inc., 759 F.2d 1261, 1263 (6th Cir. 1985); In re DeLorean Motor

  Co., 755 F.2d 1223, 1228 (6th Cir. 1985).

         Supreme Court case law is consistent:



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                   A plaintiff seeking a preliminary injunction must establish that he
                   is likely to succeed on the merits, that he is likely to suffer
                   irreparable harm in the absence of preliminary relief, that the
                   balance of the equities tips in his favor, and that an injunction is in
                   the public interest.

  Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008), citing Munaf v. Geren, 553 U.S.

  674, 689-90 (2008); Amoco Prod. Co. v. Gambell, 480 U.S. 531, 542 (1987); Weinberger v.

  Romero-Barcelo, 456 U.S. 305, 311–12 (1982).

         The purpose of a preliminary injunction is to preserve a court’s power to render a

  meaningful decision after a trial on the merits. Alabama v. U.S. Army Corps of Engineers, 424 F.

  3d 1117, 1128 (11th Cir. 2005), quoting Wright, Miller & Kane, Federal Practice and Procedure:

  Civil, § 2946.

                   Although the fundamental fairness of preventing irremediable
                   harm to a party is an important factor on a preliminary-injunction
                   application, the most compelling reason in favor of entering a Rule
                   65(a) order is the need to prevent the judicial process from being
                   rendered futile by defendant’s action or refusal to act. . . . [T]he
                   preliminary injunction is appropriate whenever the policy of
                   preserving the court’s power to decide the case effectively
                   outweighs the risk of imposing an interim restraint before it has
                   done so.
  Id. at § 2947.

         Failure to enjoin an imminently pending execution will obviously render the case moot as

  to that inmate long before any trial can be held. As noted above, there has never been a trial in

  this case; Plaintiffs who failed to obtain preliminary injunctive relief have had their cases

  rendered moot by their executions.

         Nevertheless, stays of execution are not to be granted routinely. A court must weigh the

  interest of a State in carrying out a lawful death sentence and its parallel interest in finality of

  criminal judgments. Workman v. Bredesen, 486 F.3d 896, 912-13 (6th Cir. 2007).

                                                     7
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         In reversing this Court’s prior grant of preliminary injunctive relief to Phillips, Tibbetts,

  and Otte, the Sixth Circuit held the Plaintiffs failed to demonstrate likelihood of success on the

  merits, the first branch of the preliminary injunction test. Fears v. Morgan, 860 F.3d 881, 892

  (6th Cir. 2017). This Court found for the Plaintiffs on the irreparable harm, balance of equities,

  and public interest branches. In re Ohio Execution Protocol Litig., 235 F. Supp. 3d 892, 959-60

  (S.D. Ohio Jan. 26, 2017). The Sixth Circuit did not disturb those conclusions on appeal and

  they apply here precisely as they did in the earlier decision. Therefore this Decision addresses

  only the likelihood of success on the merits branch of the test.



  General Standard for 42 U.S.C. § 1983 Relief



         42 U.S.C. § 1983, R.S. § 1979, was adopted as part of the Act of April 20, 1871, and

  reads in pertinent part:

                 Every person who, under color of any statute, ordinance,
                 regulation, custom, or usage, of any State or Territory or the
                 District of Columbia, subjects, or causes to be subjected, any
                 citizen of the United States or other person within the jurisdiction
                 thereof to the deprivation of any rights, privileges, or immunities
                 secured by the Constitution and laws, shall be liable to the party
                 injured in an action at law, suit in equity, or other proper
                 proceeding for redress . . . .

  The statute creates a cause of action sounding essentially in tort on behalf of any person deprived

  of a constitutional right by someone acting under color of state law. City of Monterey v. Del

  Monte Dunes at Monterey, Ltd., 526 U.S. 687, 709 (1999); Memphis Community School District

  v. Stachura, 477 U.S. 299 (1986); Carey v. Piphus, 435 U.S. 247 (1978). “The purpose of §

  1983 is to deter state actors from using the badge of their authority to deprive individuals of their

  federally guaranteed rights and to provide relief to victims if such deterrence fails.” Wyatt v.

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  Cole, 504 U.S. 158, 161 (1992). In order to be granted relief, a plaintiff must establish that the

  defendant deprived him of a right secured by the Constitution and the laws of the United States

  and that the deprivation occurred under color of state law. See West v. Atkins, 487 U.S. 42, 48

  (1988); Parratt v. Taylor, 451 U.S. 527, 535 (1981); Flagg Brothers Inc. v. Brooks, 436 U.S.

  149, 155 (1978).

          Named and served as Defendants in this case are Ohio Governor John Kasich, Ohio

  Department of Rehabilitation and Corrections (“ODRC”) Director Gary Mohr, and Director

  Mohr’s subordinates in the ODRC Ronald Erdos, Donald Morgan, Stephen Gray, Edwin

  Voorhies, Richard Theodore, Charlotte Jenkins, John Coleman, and anonymous members of the

  Execution Team. These Defendants are referred to herein collectively as the State Defendants9.

  Each of them is sued in his or her official capacity and for acts done under color of state law

  (See, e.g., Campbell 4AC, ¶ 27, ECF No. 978, PageID 36356.)

          Actions against state officials in their official capacities are deemed actions against the

  State itself. Kentucky v. Graham, 473 U.S. 159, 165 (1985). A State is not a person within the

  meaning of § 1983. Will v. Michigan Dept. of State Police, 491 U.S. 58 (1989). An action

  against a state official in his official capacity for injunctive relief is not barred by the Eleventh

  Amendment.       Ex parte Young, 209 U.S. 123 (1908); Cory v. White, 457 U.S. 85 (1982);

  Thomson v. Harmony, 65 F.3d 1314, 1320 (6th Cir. 1995), but declaratory relief regarding past

  conduct is barred by that Amendment, Green v. Mansour, 474 U.S. 64 (1985).

          To impose liability on a governmental entity for the acts of one of its agents, a plaintiff

  must prove that the agent acted pursuant to custom or policy. Monell v. New York City Dept. of


  9
    Plaintiffs have also named pseudonymously one hundred pharmacies, one hundred pharmacists, twenty-five drug
  suppliers, and twenty-five John Does who are “employed by or associated with the defendant pharmacies or drug
  suppliers. Although Plaintiffs allege these other Defendants are state actors within the meaning of § 1983
  jurisprudence, none of them have ever been identified or served with process.

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   Social Services, 436 U.S. 658, 690 (1978). An unconstitutional governmental policy can be

   inferred from a single decision by the highest officials responsible for setting policy in a

   particular area of the government's business. Owen v. City of Independence, 445 U.S. 622

   (1980); Pembaur v. City of Cincinnati, 475 U.S. 469 (1986). On the other hand, official policy

   cannot be inferred from the single unauthorized act of a subordinate government agent, e.g., an

   unauthorized shooting by a police officer. Oklahoma City v. Tuttle, 471 U.S. 808 (1985);

   Radvansky v. City of Olmsted Falls, 395 F.3d 291, 311 (6th Cir. 2005)(“By itself, ‘the wrongful

   conduct of a single officer without any policy-making authority did not establish municipal

   policy.’" quoting Collins v. City of Harker Heights, 503 U.S. 115, 121 (1992)).



   Law of the Case Doctrine



          Because this is a consolidated case with a long history, there have been many prior

   rulings, both of this Court and the Sixth Circuit, which may be applicable under law of the case

   doctrine. Both parties have relied on that doctrine in arguing the instant Motions.

          Under the doctrine of law of the case, findings made at one point in litigation become the

   law of the case for subsequent stages of that same litigation. United States v. Moored, 38 F 3d

   1419, 1421 (6th Cir. 1994), citing United States v. Bell, 988 F.2d 247, 250 (1st Cir. 1993). "As

   most commonly defined, the doctrine [of law of the case] posits that when a court decides upon a

   rule of law, that decision should continue to govern the same issues in subsequent stages in the

   same case." Arizona v. California, 460 U.S. 605, 618 (1983), citing 1B Moore's Federal Practice

   ¶0.404 (1982); Patterson v. Haskins, 470 F.3d 645, 660-61 (6th Cir. 2006); United States v. City

   of Detroit, 401 F.3d 448, 452 (6th Cir. 2005). Judge Sutton recently gave the rationale: “If it is



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   important for courts to treat like matters alike in different cases, it is indispensable that they

   ‘treat the same litigants in the same case the same way throughout the same dispute.’” United

   States v. Charles, 843 F.3d 1142, 1145 (6th Cir. 2016) quoting Bryan A. Garner, et al., The Law

   of Judicial Precedent 441 (2016).

          However, "law of the case directs a court's discretion, it does not limit the tribunal's

   power." Southern R. Co. v. Clift, 260 U.S. 316, 319 (1922); Messenger v. Anderson, 225 U.S.

   436 (1912)(Holmes, J.); see also Gillig v. Advanced Cardiovascular Sys., Inc., 67 F.3d 586, 589-

   90 (6th Cir. 1995). “At the trial level, the doctrine of the law of the case is little more than a

   management practice to permit logical progression toward judgment. Prejudgment orders remain

   interlocutory and can be reconsidered at any time.” Moore’s Federal Practice at ¶0.404.

          The Sixth Circuit has recently written about occasions when following the law of the case

   may be inappropriate.

                  We generally will not disturb these [prior holdings] unless there is
                  '(1) an intervening change of controlling law; (2) new evidence
                  available; or (3) a need to correct a clear error or prevent manifest
                  injustice.'" Entm't Prods., Inc. v. Shelby Cnty., 721 F.3d 729, 742
                  (6th Cir. 2013), cert. denied, 134 S. Ct. 906, 187 L. Ed. 2d 778
                  (2014) (quoting Louisville/Jefferson Cnty. Metro Gov't v.
                  Hotels.com, L.P., 590 F.3d 381, 389 (6th Cir. 2009))

   Howe v. City of Akron, 801 F.3d 718, 741 (6th Cir. 2015). These factors mirror those used in

   deciding a motion for reconsideration. Meekison v. Ohio Dep't of Rehabilitation & Correction,

   181 F.R.D. 571, 572 (S.D. Ohio 1998)(Marbley, J.).

          The mandate rule is a specific application of the law-of-the-case doctrine. The basic

   tenet of the mandate rule is that a district court is bound to the scope of the remand issued by the

   court of appeals. United States v. Campbell, 168 F.3d 263, 265 (6th Cir. 1999). The mandate

   rule is a distinct concept which preserves the hierarchy of the court system. Scott v. Churchill,

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   377 F.3d 565, 570 (6th Cir. 2004). Trial courts are obliged to follow precedent set by Supreme

   Court and Courts of Appeals. "Unless we wish anarchy to prevail within the federal judicial

   system, a precedent of this Court must be followed by the lower federal courts no matter how

   misguided the judges of those courts may think it to be." Hutto v. Davis, 454 U.S. 370, 375

   (1982).

               In a consolidated case which has had over one hundred Plaintiffs, each with his life at

   stake, over 2,400 filings (comprising over 80,000 pages), twelve preliminary injunction hearings,

   and twenty appeals, the law of the case doctrine should play an important part. Soon after being

   assigned management of this case in October 2016, the Magistrate Judge sought the views of the

   parties and stated his own understanding of the law of the case doctrine (Notice, ECF No. 728,

   PageID 23044-46, relying largely on Westside Mothers v. Olszewski, 454 F.3d 532, 538 (6th Cir.

   2006).) The Magistrate Judge has recently applied the doctrine to the shifting law in capital

   litigation in the Sixth Circuit. Sheppard v. Jenkins, 2017 U.S. Dist. LEXIS 170666, *4-5 (S.D.

   Ohio Oct. 16, 2017). The gist of this Court’s present understanding is that prior rulings in the

   case, just like precedent from other courts, should be understood based on the context in which

   they were made and therefore applied with a great deal of nuance, and not like proof-texts.10

               Part of that context is the speed with which decisions have necessarily been made. Many

   of the prior District Court and Sixth Circuit decisions in this case, like this one, have required

   more speed and less deliberation than far less weighty decisions facing judges. The speed with

   which decisions must be made and opinions written inevitably affects their utility in deciding

   future cases. See Daniel Kahneman, Thinking, Fast and Slow, for which Kahneman was

   awarded the Nobel Prize in economics.



   10
        Proof-texting is the practice of using isolated out-of-context quotations to establish a proposition in eisegesis.

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          The law of the case is analyzed and applied separately below to the Eighth Amendment

   and Equal Protection claims litigated in this preliminary injunction proceeding.



   The Pending Motions for Injunctive Relief



          Plaintiff Tibbetts was a movant in the January 2017 preliminary injunctive proceedings

   where he sought relief on his Fourth, Thirty-Fifth, Thirty-Sixth, Thirty-Seventh, Thirty-Eighth,

   Fortieth, Forty-First, Forty-Third, and Forty-Fifth Causes of Action. He now seeks preliminary

   injunctive relief on his Fourth (Equal Protection), Twentieth, Twenty-Second, Fortieth, and

   Forty-First Causes of Action (Cruel and Unusual Punishment). Defendants have not questioned

   his procedural right to move for preliminary injunctive relief a second time.

          Campbell was not a movant in the January 2017 preliminary injunction proceedings

   which were limited to those Plaintiffs who had consented to Magistrate Judge jurisdiction prior

   to the hearing. Campbell now seeks preliminary injunctive relief on his Fourth, Twentieth, and

   Twenty-Second Causes of Action which read identically to Tibbetts’s Fourth, Twentieth, and

   Twenty-Second Causes of Action.

          Because Plaintiffs argue their Eighth Amendment claims first, the Court will follow their

   order of presentation.



   EIGHTH AMENDMENT CRUEL AND UNUSUAL PUNISHMENT CLAIMS



          In their Twentieth and Twenty-Second Causes of Action, Campbell and Tibbetts assert

   that their executions pursuant to Ohio’s current execution protocol, 01-COM-11 (revised October



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   7, 2016, hereinafter the “Execution Protocol”) will subject them to cruel and unusual punishment

   in violation of the Eighth Amendment to the United States Constitution. Those claims read

                 Twentieth Cause of Action: Eighth Amendment Violation Based
                 On Substantial Risk Of Serious Harm In The Form Of Severe,
                 Needless Physical Pain And Suffering Due To The Identity Of The
                 Drugs In The Execution Protocol.

                 Twenty-Second Cause of Action: Eighth Amendment Violation
                 Based On Substantial Risk Of Serious Harm In The Form Of
                 Severe Mental Or Psychological Pain, Suffering And Torturous
                 Agony Due To The Identity Of The Drugs In The Execution
                 Protocol.

   (Tibbetts 4AC, ECF No. 691, PageID 20025; Campbell 4AC, ECF No. 978, PageID 36344-45).


          Tibbetts’s additional Eighth Amendment claims read:

                 Fortieth Cause of Action: Eighth Amendment Violation Based
                 On DRC Defendants’ Use Of A Three-Drug Execution Method
                 With Midazolam As The First Of The Three Drugs.

                 Forty-First Cause of Action: Eighth Amendment Violation Based
                 On DRC Defendants’ Use Of Midazolam In The Execution
                 Protocol.

   (Tibbetts 4AC, ECF No. 691, PageID 20026.)




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   The Eighth Amendment Standard



          First Branch: Serious Pain and Needless Suffering Requirement



          To prevail on an Eighth Amendment challenge to a method of execution, Plaintiffs must

   prove that the challenged method “presents a risk that is sure or very likely to cause serious pain

   and needless suffering.” Fears v. Morgan, supra, at 886.

          In Fears the Sixth Circuit criticized this Court’s reliance on language from Baze as

   stating the standard:

                  Yet here the district court's opinion was seriously flawed
                  nonetheless. To begin with, that opinion did not apply the relevant
                  legal standard, which by now the Supreme Court and our court
                  have recited a total of four times. Specifically, to challenge
                  successfully a State's chosen method of execution, the plaintiffs
                  must "establish that the method presents a risk that is sure or very
                  likely to cause" serious pain and "needless suffering[.]" Glossip,
                  135 S.Ct. at 2737 (emphasis in original) (internal quotations marks
                  omitted); see also Baze, 553 U.S. at 50 (same); Cooey v. Strickland
                  (Cooey II), 604 F.3d 939, 944 (6th Cir. 2010) (same); Cooey v.
                  Strickland (Cooey I), 589 F.3d 210, 220 (6th Cir. 2009) (same).
                  Instead, the district court addressed only whether Ohio's procedure
                  presents a "substantial risk of serious harm," Baze, 553 U.S. at 50
                  (internal quotation marks omitted). That standard is correct so far
                  as it goes; but it elides the more rigorous showing—that the
                  method of execution is sure or very likely to cause serious pain—
                  that the Supreme Court and our court have repeatedly said is
                  necessary to satisfy the "substantial risk" standard in the particular
                  context present here. Accord McGehee, 854 F.3d at 492.


   Fears, supra, at 886. This standard is now undoubtedly the law of this case and was so before

   Fears since the Cooey I and Cooey II appeals in this consolidated case.



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          Plaintiffs appear to acknowledge that “sure or very likely to cause severe pain and

   needless suffering” is the standard they must meet (Tibbetts’s Motion, ECF No. 1261, PageID

   46111, n. 3; Campbell’s Motion, ECF No. 1262, PageID 46227-78). However, they continually

   use language to describe their claims which is confusingly similar but does not have the same

   meaning. For example, at the very beginning of his Eighth Amendment argument, Tibbetts

   asserts “[i]f subjected to Defendants’ 2016 Execution Protocol, Tibbetts is sure or very likely to

   face a risk of serious harm – indeed, it is all but certain.” (ECF No. 1261, PageID 46104.)

   Campbell uses identical language at the same place in his Motion (ECF No. 1262, PageID

   46220). “Serious risk of harm” is, of course, the standard this Court used in the January 2017

   decision which the circuit court rejected as not strict enough.

          At PageID 46111, Tibbetts asserts he will suffer “mental pain.” On the same page he

   asserts he must prove the Execution Protocol is sure or likely “to cause serious illness. . . .” At

   PageID 46113, he asserts that any drug used before the paralytic and the potassium chloride must

   render him “unconscious, unaware, and insensate” and keep him that way until he is dead.

   Without that effect from the first drug, the “death caused by one or both of these drugs will be

   agonizingly painful and torturous to Tibbetts, both physically and psychologically.” Id. at

   PageID 46114. The pain and suffering from the paralytic alone “is nothing less than ‘inhuman

   and barbarous’ torture.” Id. at PageID 46115, quoting In re: Kemmler, 136 U.S. 436, 447

   (1890)(finding execution in the electric chair was not cruel or unusual).

          Campbell’s Motion (ECF No. 1262) parallels Tibbetts’s, using the same selection of

   words which are asserted to be synonymous with “serious pain” and “needless suffering,” but are

   not. See, e.g., PageID 46220, PageID 46227.

          These different ways of expressing the standard are not linguistically equivalent.



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           Torture



           Black’s defines torture as “[t]he infliction of intense pain to the body or mind to punish,

   to extract a confession or information, or to obtain sadistic pleasure.” Torture, Black’s Law

   Dictionary (10th ed. 2014). The definition implies the required mental state – the torturer must

   be acting intentionally. Although the Eighth Amendment does not mention torture, torture as

   here defined, if inflicted by a State as punishment, is prohibited by the Cruel and Unusual

   Punishment Clause. Hudson v. McMillian, 503 U.S. 1, 4 (1992); Wilkins v. Gaddy, 559 U.S. 34

   (2010). A claim that an execution protocol will inflict “torturous pain” would be cognizable

   under the Eighth Amendment, but the Court heard no evidence of any action by any Defendant

   to torture any death row inmate, in the past or intended for the future. Dr. Ashish Sinha11 gave it

   as his opinion that subjecting an inmate to a procedure that causes air hunger is equivalent to the

   torture technique called “waterboarding.” However, while waterboarding is a form of torture

   within the Black’s Law dictionary definition, air hunger that is the incidental consequence of an

   execution procedure is not. Use of the word “torturous” to describe an execution method adds

   nothing to the constitutional analysis, however powerful the rhetoric.




   11
     Though highly qualified by training and experience to offer opinions on anesthesiology questions, Dr. Sinha often
   gave his opinions in very absolute terms without the reserve in expression and caution in drawing conclusions
   usually associated with scientific opinion. This tendency limits the credence the Court can give to his strongly
   expressed conclusions.

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              Psychological Pain



              Psychological pain or mental suffering is a likely result of being sentenced to death and

   anticipating the execution, but that experience of psychological suffering could not by itself

   make a method of execution unconstitutional.                    Presumably all death row inmates suffer that

   pain, but the death penalty is not per se unconstitutional. In re Campbell, ___ F.3d ___, 2017

   U.S. App. LEXIS 21094 *5, citing Baze v. Rees, 553 U.S. 35, 47 (2008). Unless accompanied

   by serious physical pain, the mental suffering associated with being under a sentence of death is

   not material to the Eighth Amendment inquiry under Baze and Glossip. It is not clear to this

   Court how a plaintiff could segregate anxiety from anticipated execution in general from anxiety

   about execution by a particular method. In any event, no evidence was offered to support a

   claim that either Campbell or Tibbetts suffers particular psychological pain associated with the

   Execution Protocol.



              Unconscious, Unaware, and Insensate



              Plaintiffs asked various witnesses whether midazolam would render an inmate

   “unconscious, unaware, and insensate.”                  Those adjectives, according to Plaintiffs’ expert

   witnesses Craig Stevens, Laura Depas, and Ashish Sinha, describe the state of a person under

   General Anesthesia12, defined as that state of human consciousness in which the subject is

   unconscious, unaware, and insensate to pain (Stevens Opinion, PX 45, ECF No. 1323-15; Sinha

   Corrected Opinion, ECF No. 1295-1, PageID 47331). Plaintiffs repeat their assertion that an



   12
        Dr. Stevens intentionally capitalized these two words, apparently intending to make them a defined term.

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   inmate must be “insensate to pain” in their Written Closing Arguments (ECF No. 1355, PageID

   50422).

            However, the Court is not aware of any precedent requiring that an inmate be in the state

   of General Anesthesia before injections of rocuronium bromide or potassium chloride, the

   second and third drugs in the Execution Protocol. In fact, the Supreme Court has recognized that

   some pain is incidental to any lethal injection procedure, but a person who is “insensate” would

   not experience any pain. Baze v. Rees, 553 U.S. 35, 47-48 (2008); Glossip v. Gross, 135 S. Ct.

   2726, 2739-40 (2015); see also Phillips v. Robinson, 2013 U.S. Dist. LEXIS 108820 (N.D. Ohio

   2013).



            What is Serious Pain?



            Dorland’s Medical Dictionary (28th edition, 1994) defines pain as “a more or less

   localized sensation of discomfort, distress, or agony, resulting from the stimulation of specialized

   nerve endings.” It has no definition of “serious” or “severe” pain.

            Dr. Sinha opined on “assessing pain objectively using physiological markers.” (Corrected

   Expert Opinion, ECF No. 1295-1, PageID 47342, et seq.) He notes that standards for basic

   anesthetic monitoring require monitoring heart rate, electrocardiogram, and blood pressure. Id.,

   ¶ 37, citing Miller’s Anesthesia 1395 (8th ed. 2015). He then reports what various outputs of

   these monitoring devices tell a trained observer about whether a patient is experiencing pain, but

   he does not suggest they tell what level of pain a person is suffering.

            The Sixth Circuit accepted in Fears this Court’s finding that injection of a fully conscious

   person with rocuronium bromide and potassium chloride would cause severe pain sufficient to



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   meet the Eighth Amendment standard. 860 F.3d at 886. But it is clear that a person given even a

   clinical dose of midazolam is not “fully conscious.”

            Dr. Sinha criticized the en banc court’s discussion of consciousness and clarified Dr.

   Bergese’s January testimony, noting that the concept of consciousness is indeed a spectrum, but

   the concept of sensitivity to pain is not: “I think it’s sensation that’s binary. I mean, either the

   person’s going to feel it or not feel it” and “that’s a separate consideration from whether the

   person is conscious or unconscious” (Quoted at Written Closing Arguments, ECF No. 1355,

   PageID 50427).

            Because the Execution Protocol calls for what it denominates as “consciousness checks,”

   the checks actually used by ODRC Medical Team members were a focus of the preliminary

   injunction hearing for former Plaintiff Gary Otte in September 2017. In denying injunctive

   relief, the Court wrote that “[c]onsciousness’ is not a term of art in medicine or capital

   punishment law.” (ECF No. 1226, PageID 45251). The Court relied on the caution about use of

   the term in Miller’s Anesthesia that consciousness is a person’s subjective experience, to be

   distinguished from responsiveness: “An individual may fully experience a stimulus (e.g., the

   command “Open your eyes!”) but not be able to respond (as when a patient is paralyzed but

   conscious during surgery).” (8th ed. 2015 at p. 283)13. The Court concluded

                     Neither the Supreme Court nor the Sixth Circuit has defined the
                     term in any way that relates it to the medical use of the term in the
                     expert testimony this Court has heard. And neither court has
                     adopted any particular degree of unconsciousness as
                     constitutionally required in a lethal injection execution.

   (ECF No. 1226, PageID 45251). That result was not changed by any medical testimony the

   Court heard in the October 23-27 hearing.

   13
      Dr. Sinha confirmed that Miller’s Anesthesia, on which he wrote a chapter in the current edition, is the leading
   treatise on the subject. It was referred to by many if not all of the expert witnesses.

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            In sum, the Eighth Amendment test is “sure or very likely to cause serious pain and

   needless suffering.” Proof of other perhaps associated phenomena, e.g., psychological pain or

   serious illness, is immaterial.



            Evidence on the Likelihood of Severe Pain and Needless Suffering Requirement



            It is the law of the case14 that the evidence presented to this Court in January 2017 is

   insufficient to prove that there is a strong likelihood or probability Plaintiffs will prevail at a trial

   on the merits in showing that their executions pursuant to the Execution Protocol will cause them

   to suffer severe pain and needless suffering. There was disagreement by Plaintiffs’ experts with

   the medical science reflected in that decision, but the Sixth Circuit’s conclusions are binding on

   this Court in the most conclusive way a precedent can be binding; it is a published en banc

   circuit court decision in the same case and on which the Supreme Court denied review.15

            The circuit court did not just conclude this Court applied the wrong Eighth Amendment

   standard to the evidence before it. Had it done that, it should have remanded for application of

   the correct standard. Instead, it concluded the evidence was insufficient to satisfy the correct

   standard, vacated the stay, and allowed former Plaintiffs Phillips and Otte to be executed.

            The court held:

                      In sum, we will grant that the plaintiffs have shown some risk that
                      Ohio's execution protocol may cause some degree of pain, at least
                      in some people. But some risk of pain "is inherent in any method
                      of execution—no matter how humane[.]" Baze, 553 U.S. at 47.

   14
      That is to say, it would have been a violation of the mandate rule at the very least for this Court, when it
   reacquired jurisdiction after the en banc decision, to say it was still persuaded by that evidence and re-enter the
   preliminary injunction.
   15
      Denial of certiorari is said to have little precedential value in itself. But denial of certiorari in this case must be
   given some weight, particularly in light of the closest possible vote in the Sixth Circuit, Justice Breyer’s dissent in
   Glossip, and his failure to concur in Justice Sotomayor’s dissent from denial of certiorari here.

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                  And the Constitution does not guarantee "a pain-free execution[.]"
                  Cooey I, 589 F.3d at 220. Different people may have different
                  moral intuitions as to whether—taking into account all the relevant
                  circumstances—the potential risk of pain here is acceptable. But
                  the relevant legal standard, as it comes to us, requires the plaintiffs
                  to show that Ohio's protocol is "sure or very likely" to cause
                  serious pain. Glossip, 135 S. Ct. at 2737, 2745. The district court
                  did not meaningfully apply that standard here. And the plaintiffs
                  have fallen well short of meeting it.


   Fears, 860 F.3d at 890.

          If the January 2017 evidence was insufficient, as the en banc court held, the question

   now before the Court is whether Campbell and Tibbetts have added sufficient evidence to the

   case to now show the Execution Protocol is sure or very likely to cause them severe pain and

   needless suffering. The Court concludes they have not.

          Plaintiffs rely in part on the expert testimony of Craig Stevens, a professor of

   pharmacology at Oklahoma State University.              Dr. Stevens offered opinions on the

   pharmacological effects of midazolam, the first drug in the Execution Protocol, gathered from

   his interpretation of the results of an extensive literature search relating to that drug. Although

   there was no time to conduct a Daubert hearing, Plaintiffs presented an adequate foundation in

   this hearing which, when coupled with what was presented in January, established a sufficient

   basis to find Dr. Stevens was qualified to offer opinions on the subjects on which he was

   presented so as to comply with Fed. R. Evid. 702.

          Dr. Stevens reinforced his January opinion that midazolam is not capable of producing

   General Anesthesia, defined as that state of human consciousness in which the subject is

   unconscious, unaware, and insensate to pain (Stevens Opinion, PX 45, ECF No. 1323-15,




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   PageID 48935)16. He acknowledged that this opinion is inconsistent with that of Defendants’

   expert Dr. Joseph Antognini, an anesthesiologist17, but characterized Dr. Antognini’s opinion as

   an “outlier.” He also acknowledged on cross-examination that there are no clinical studies of the

   effects of midazolam in doses anywhere near the 500 mg Ohio uses; that dose is so far above any

   clinical dose ever used that experimentation with such doses would be unethical.

            As a pharmacologist – an expert on the effects of drugs on the human subject – Dr.

   Stevens has never administered an anesthetic to a human person. In the Court’s opinion, this

   does not diminish the credibility of his testimony because he carefully limited himself to his area

   of expertise.

            Dr. Stevens was particularly asked by Plaintiffs

                     to provide expert opinions regarding the use of midazolam as the
                     1st drug in the lethal injection procedures employed by the State of
                     Ohio Department of Rehabilitation and Corrections (“DRC”),
                     focusing on the timing of the 2nd drug administration with respect
                     to the onset time and peak effect time of midazolam’s effect, and
                     on the ‘consciousness check’ performed by the DRC after
                     midazolam administration.

   Id. at PageID 48933

            Dr. Stevens usefully distinguished between induction and maintenance of anesthesia, the

   former being the process of bringing a subject to the state of being anethesthetized and the latter

   being the process of keeping the subject in that state despite painful stimuli which might arouse a

   person, e.g, being cut open with a scalpel. He also helped by distinguishing a bolus injection, in

   which all of a dose of a drug is administered with one push of the syringe plunger, and infusion,

   16
     The opinion was also filed when initially prepared at ECF No. 1288-1)
   17
     Dr. Antognini is, in the Court’s opinion, fully qualified to testify as an anesthesiologist under Fed. R. Evid. 702
   despite the fact the he has retired from active practice. The need for currency in practice largely stems from the
   requirement that witnesses in medical malpractice cases be familiar with the current standards of practice. That is
   not needed here because Ohio’s Execution Protocol is not being measured against current standards of the practice
   of anesthesiology.

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   in which a drug is administered in a controlled flow, usually in a medical setting by a machine

   designed for that purpose. Ohio’s injection drugs are all administered by bolus injection, but the

   distinction is useful in understanding the literature and Plaintiffs’ reference to infusion in their

   proposed alternative methods.

            Dr. Stevens’ relevant opinions, repeated in testimony, are that intravenously-administered

   midazolam “takes a non-trivial period of time to begin to exert its pharmacological effects.” Id.

   at PageID 48934. That timing is not dose-dependent. That is, the drug does not work any faster

   because a larger dose is given. The FDA-approved package insert (usually called the “label”18)

   for midazolam states that sedation in adults is achieved at 3-5 minutes after IV administration,

   and induction of anesthesia is achieved at 2-3 minutes.                       Dr. Stevens’ acceptance of this

   distinction clarified some confusion the Court had about his January testimony.

            Various clinical studies have been made of midazolam’s effect on responses to so-called

   consciousness checks of various sorts, including loss of response to eyelash reflex, corneal touch,

   and verbal commands. Id. The onset time for midazolam’s effect of loss of verbal and other non-

   reflexive responses ranges from 1.7 to 1.9 minutes after IV midazolam administration and for

   loss of the eyelid reflex from 2.0 to 3.7 minutes after IV midazolam administration.

   Midazolam’s peak or maximum sedative effect, which again is not dose dependent, when

   measured by electroencephalogram (EEG), is reached from five to fifteen minutes after

   intravenous administration. Id.

            Despite a good deal of pre-hearing sparring over the length of the IV tubing in use for

   executions, Plaintiffs were ultimately unable to present testimony on how the use of a long IV




   18
     The 2017 version of this insert is in evidence as Court’s Exhibit 3. The parties implicitly agreed to treat this
   version as the relevant one.

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   tube (from inside the equipment room in the death house to the inmate’s body) would affect

   onset time.

          Consciousness checks of the sort used by ODRC detect loss of response to verbal stimuli

   and eyelid or corneal reflex before loss of response to painful stimuli such as nail-bed pressure

   pain or pin prick. Id. Dr. Stevens also opined that lack of response to any of the ODRC

   consciousness checks would not “indicate that the inmate has reached a state of unconsciousness

   characterized by lack of awareness to pain,” i.e. General Anesthesia. Id.

          Laura Depas, a certified registered nurse anesthetist, was retained by Plaintiffs to observe

   the Ronald Phillips and Gary Otte, executions, report on what she saw, and render opinions on

   what she observed based on her extensive (twenty-eight years) experience. She was qualified to

   offer expert opinion based on her experience as approved in Kumho Tire Co. v. Carmichael, 526

   U.S.137, 152 (1999).

          Nurse Depas testified about Phillips’ execution in the Otte preliminary injunction hearing

   in September and then about the Otte execution in this hearing. She had not met or observed

   Otte until she saw him walk into the execution chamber, but from his height and general body

   “habitus,” she formed the opinion he was at risk of “obstructing.” She and other witnesses

   testified that “obstructing” in this context means that the subject is experiencing an airway

   blockage. The blockage can be caused by a foreign body (e.g., a piece of meat which “goes

   down the wrong way” and may require the Heimlich maneuver to restore breathing). Or it can

   be caused by failure of the body’s own tissues (e.g., the collapse of the throat muscles in persons

   suffering from sleep apnea). Whatever the cause, the subject will cease breathing until the

   blockage is cleared and will suffer “air hunger” – struggling to breathe – in the meantime. In the

   sleep apnea subject, this will cause the subject to awaken, interrupting sleep.



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          During the Otte execution on September 13, 2017, Nurse Depas observed what she

   understood, correctly, to be Warden Erdos’s signal that the administration of the drugs should

   begin. Forty seconds later by her watch, she saw Mr. Otte turn his head from sharply left to ten

   to fifteen degrees closer to mid-line, then blink exaggeratedly as if trying to keep his eyes open.

   At some time shortly thereafter, she observed behavior on Otte’s part which she interpreted as

   showing he was obstructing. She stated to Carol Wright, one of Mr. Otte’s attorneys who was

   also witnessing the execution “He’s obstructing.” At that point Ms. Wright asked to be allowed

   to leave the witness room to contact the Court through her colleague, Attorney Allen Bohnert.

   When counsel reached the Court, they sought a temporary restraining order to prevent injection

   of the second and third drugs. The Court denied that motion for reasons stated in a subsequent

   memorandum opinion (ECF No. 1238; reported at In re Ohio Execution Protocol Litig., 2017

   U.S. Dist. LEXIS 150630 (S.D. Ohio Sept. 18, 2017)).

          A great deal of emphasis was placed in the hearing on the phenomenon of “obstructing”

   and what that signifies about the condition of the person.            However, testimony about

   “obstructing” was not at all a focus of the earlier hearings in January and September, even

   though they focused, as did this hearing, on the effects of midazolam.          A fair amount of

   testimony from the January and September hearings was designated to be considered by the

   Court in deciding the instant Motions, but the paucity of testimony about “obstructing” in the

   prior hearings makes it difficult to see the relevance.

          The eyewitnesses differed in their observations of Mr. Otte’s breathing after the

   midazolam injection, with Execution Team members observing smaller differences from normal

   breathing than did Nurse Depas, Attorney Wright, and Attorney Vicki Ruth Adams Werneke..

   Witnesses called by Plaintiffs observed what they referred to as “very labored breathing”



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   (Werneke), an obstructed pattern of breathing (Depas), and his “stomach moving violently”

   (Wright)(Written Closing Arguments, ECF No. 1355, PageID 50445). These observations were

   consistent with reports of abnormal breathing by witnesses to other executions using midazolam

   as the initiatory drug that were heard in January.

           Plaintiffs also called Christine Freeman and Santino Coleman, attorneys with the Federal

   Defender in Montgomery, Alabama, who witnessed the execution of Torrey McNabb in that

   State on October 19, 2017, and reported their observations which included unusual body

   movements after injection of midazolam, including jerking one arm up at a right angle. While

   the Court did not exclude these witnesses in part because of the recency of their experiences and

   in part because they had traveled from Alabama to testify, their testimony added little weight to

   the Plaintiffs’ case. In the first place, what they observed was only marginally different from

   other observations of bodily movements after 500 mg. of midazolam in other executions which

   were of record in the January and September hearings. Second, because the McNabb execution

   happened only three days before this hearing commenced, Defendants had been unable to obtain

   any evidence from Alabama authorities on how the McNabb execution proceeded or to cross-

   examine these witnesses in discovery. Even assuming there was no observer bias, the testimony

   was essentially cumulative of what the Court has heard before from eyewitnesses to executions

   where midazolam was the initiatory drug.19

           Plaintiffs argue that this pattern of breathing shows Mr. Otte was in pain (Written Closing

   Arguments, ECF No. 1355, PageID 50446). Supplied with these descriptions of Mr. Otte’s

   behavior, Dr. Sinha opined he had “all the STOP-Bang factors and he would screen positive for

   19
     Dr. Sinha testified he would treat these types of reports (eyewitness reports of what was seen at executions), as
   “objective” evidence of what happened and he relied on these accounts as “objective” to ground expert opinions he
   offered. Such accounts by witnesses strongly identified with the inmate side of these disputes cannot be accepted as
   “objective” by the Court. Without doubting the utmost sincerity of these witnesses, perspective always colors
   observation and confirmation bias is a well-established phenomenon.

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   sleep apnea.” Id. If required to lie flat on the execution gurney, he would not be able to breathe

   because of his tongue and muscle tone and would experience choking.”              Id.   With the

   characteristic self-assurance he showed throughout his testimony, Dr. Sinha opined “If your

   intent is to choke this person to death, you are halfway there.” Id.

          This testimony was in support of Campbell and Tibbetts’ argument that ODRC staff

   should have inferred the likelihood of apneic obstruction from a note in Mr. Otte’s medical chart

   that he was morbidly obese and provided some accommodation for that fact. There was no

   testimony to show that Mr. Otte had ever been tested for sleep apnea or experienced its

   symptoms or that anyone acting on his behalf in this case ever raised this concern. The further

   inference suggested is that because ODRC staff did not make adequate accommodation for Mr.

   Otte, they will not do so for Mr. Campbell or Mr. Tibbetts and therefore the Court should enjoin

   the Campbell and Tibbetts’ executions. This involves too many leaps of logic. To fail to

   provide a medical accommodation without notice or request does not amount to the intentional

   infliction of cruel and unusual punishment. And to fail under those conditions to make an

   accommodation for one inmate does not predict that failure will be repeated. There is no

   showing that ODRC has a policy of refusing to accommodate persons with undiagnosed

   conditions and without a policy or custom, there is no violation of § 1983. There was comment

   during the hearing about accommodations needed for Mr. Campbell’s execution.               While

   apparently no agreement was reached (except for providing a wedge-shaped pillow to elevate

   Mr. Campbell’s upper body), the discussion belies any policy by ODRC to fail or refuse to

   accommodate medical conditions with adequate notice.

          There was also testimony about “tears.” Nurse Depas testified she saw “profuse” tearing

   from Mr. Otte’s left eye during his execution; Ms. Wright also observed the tearing. ODRC staff



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   who were present saw one tear or maybe only a “wetness” or “moisture” at the corner of the left

   eye. Both Mrs. Depas and Dr. Sinha, persons with a great deal of experience in administering

   drugs for the purposes of medical anesthesia, interpreted this as meaning Mr. Otte was not

   deeply enough anesthetized. That is to say, if either of them saw this phenomenon in his or her

   clinical practice, whether it was one tear or many, in a person for whose care they were

   responsible, they would administer more medication. On the other hand, Dr. Sinha stated that in

   tens of thousands of patients, he has never experienced this phenomenon (Corrected Expert

   Report, ECF No. 1295-1, ¶ 31 – “10,000 or more”; oral testimony not yet transcribed - 20,000)

          Plaintiffs argue that Mr. Otte’s tears show he was in pain (Plaintiffs’ Written Closing

   Arguments, ECF No. 1355, PageID 50447). While urging the Court to resolve discrepancies in

   the observational testimony in their favor, Plaintiffs ultimately conclude “[t]he fact that Mr. Otte

   produced tears at all is all that matters, not how many tears he produced.” Id. This conclusion

   was supported by Dr. Sinha’s testimony. He opined that the amount of tears does not matter:

                  If he’s tearing, he’s tearing. Somebody sees three tears, somebody
                  sees a stream, he’s tearing. If somebody doesn’t look, they didn’t
                  see a tear, there was no tearing. But enough it seems like multiple
                  people said he was tearing. The only argument is how much was
                  he tearing.

   (Quoted at ECF No. 1355, PageID 50452.) Plaintiffs conclude from this that “[a]ccording to Dr.

   Sinha’s testimony, tears are an objective sign of pain.” Id. , citing Corrected Expert Report, ECF

   No. 1295-1, ¶¶ 29-30, which read:

                  29.     One who is unconscious, unaware and insensate does not
                  produce active tears. One who is in the state of unconsciousness,
                  unawareness and insensation to pain akin to General Anesthesia
                  does not produce active tears. See, e.g., Nair & White, Care of the
                  eye during anaesthesia and intensive care, Opthalmic Anaesthesia
                  (2014).


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                    30.    Or, put differently, one who is producing active tears is,
                    without question, not unconscious, unaware, and insensate to pain.

   (Emphasis sic.)

             Plaintiffs have overstated Dr. Sinha’s conclusion. He opines that Mr. Otte would not

   have been tearing if he were under General Anesthesia. Given Dr. Stevens’ testimony, it was not

   to be expected that Mr. Otte was under General Anesthesia. But the fact that he was not

   insensate to pain does not prove he was experiencing pain or what level of pain he was

   experiencing.      To infer that these tears evidenced pain would be for Dr. Sinha an

   overgeneralization – it was his first time to see (actually, hear that others had seen) active tear

   production in similar circumstances.

             It is of course a commonplace of human experience that people cry when they are in

   physical pain, but they also cry for many other reasons. Plaintiffs were careful to elicit testimony

   from eyewitnesses that they did not see Mr. Otte cry during his last statement, hymn, and prayer.

   But there was no scientific evidence to tie the tear production to the experience of severe pain.

   The Court cannot recall any testimony from witnesses to other midazolam-initiated executions

   that the inmate produced tears, and none has been called to the Court’s attention.

             The Court agrees with Plaintiffs that Mr. Otte’s tears are a newly observed phenomenon

   in a midazolam-initiated execution and that Mr. Otte was not under General Anesthesia when the

   tears occurred. But this does not prove the tears were produced by severe pain. It does indeed

   raise the level of uncertainty as to whether midazolam is an appropriate initiatory drug. But the

   Sixth Circuit has held uncertainty counts against the Plaintiffs, not in their favor. Fears, supra,

   at 887.

             The Court believes Nurse Depas and Dr. Sinha’s opinions were strongly conditioned by

   their professions, caring for persons undergoing painful and often complicated medical

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   procedures, and thus less credible when applied to the execution context. If they do not keep

   their patients sufficiently anesthetized, pain will result which may disrupt the procedure. Their

   professionalism, coupled with the compassion most people feel for others in pain, leads them to

   judge what should be done in the execution chamber by what would be done in an operating

   room. But while surgeries should be pain-free, there is no constitutional requirement that

   executions be painless.     Baze, supra, Fears, supra.        The goal of the anesthetist and

   anesthesiologist is to make patients unconscious, unaware, and insensate to pain – which is

   properly described as being in a state of General Anesthesia. But the Eighth Amendment does

   not require General Anesthesia before an execution.

          In part the Court gives less weight to the summary conclusions of Nurse Depas and Dr.

   Sinha -- that subjecting inmates to execution by the current protocol will likely cause severe pain

   -- because both testified that using midazolam alone to induce anesthesia is not consonant with

   current medical practice. When the drug was introduced perhaps twenty years ago, it was an

   advance on prior drugs, particularly Valium, because it is fast acting and amnestic. But medical

   science has continued to develop. As good professionals, these experts offered opinions based on

   the current state of medicine. But because of ethical constraints imposed on doctors and those in

   allied professions, those being executed cannot necessarily receive what would be the best

   medicine to make them comfortable. The en banc Sixth Circuit quoted the Supreme Court on

   this point:   “the fact that a low dose of midazolam is not the best drug for maintaining

   unconsciousness during surgery says little about whether a 500-milligram dose of midazolam is

   constitutionally adequate for purposes of conducting an execution.” Fears, 860 F.3d at 887,

   quoting Glossip, 135 S. Ct. at 2742 (emphasis in Glossip.)




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           The testimony was also in conflict at this hearing, as it had been in January, over whether

   midazolam has any analgesic properties. Dr. Stevens testified convincingly that it does not,

   despite Dr. Antognini’s opinion to the contrary. However, the dose of midazolam in use here, a

   multiple of the highest recommended clinical dose, appears to be sufficient to suppress

   consciousness to the extent that an inmate will not respond to the consciousness checks used by

   emergency medical technicians and used by Ohio, most recently on Mr. Otte. There is literature

   to which Dr. Stevens testified that shows a rank ordering of responses to such consciousness

   checks (i.e., some will elicit responses that others would not elicit). Ultimately, however, the

   presented science does not prove conclusively the inference Plaintiffs’ experts drew that it was

   certain or very likely Mr. Otte experienced serious or severe pain.20

           Testimony from Nurse Depas and Dr. Sinha questioned the ODRC’s use of the particular

   “consciousness checks” employed in the Otte execution. In part this testimony was in support of

   the conclusion that midazolam had not rendered Otte insensate to pain and in part it was in

   support of parts of Plaintiffs’ suggested alternative methods of execution which would require

   continuous electronic monitoring of various bodily signs throughout the execution process.

   Nurse Depas testified that untrained individuals cannot assess consciousness without the

   assistance of monitoring equipment (Noted at Written Closing Arguments, ECF No. 1355,

   PageID 50460). The medical team members of the ODRC execution team, of course, are not

   trained to interpret the output of those monitoring devices, although they are trained to

   administer and interpret the results of the “consciousness checks” provided for in the Execution

   Protocol.




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     Dr. Sinha also opined that midazolam has a hyperalgesic effect, meaning it increases the experience of pain. The
   single study on which this conclusion was based had far too small a sample for it to be persuasive to the Court.

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            In its January preliminary injunction decision, the Court rejected the inadequate

   consciousness check argument because attempting to regulate those checks would involve the

   Court in micromanagement of the execution process.             In re:    Ohio Execution Protocol

   Litig.(Phillips, Otte & Tibbetts), 235 F. Supp. 3d 892 (S.D. Ohio, 2017). This argument was

   again rejected in the Otte preliminary injunction hearing in September. In re: Ohio Execution

   Protocol Litig. (Otte), 2017 U.S. Dist. LEXIS 145432 *43 (S.D. Ohio Sept. 8, 2017)(copy at

   ECF No. 1226). Judge Frost also approved as adequate the consciousness checks now

   challenged. Cooey v. Strickland, 610 F. Supp. 2d 853, 924 (S.D. Ohio 2009). The checks used

   in the Phillips and Otte executions were more aggressive than those found constitutionally

   unnecessary in Harbison v. Little, 571 F.3d 531 (6th Cir. 2009), followed in In re: Ohio

   Execution Protocol Litig. (Otte), 2017 U.S. Dist. LEXIS 145432 at * 40 (S.D. Ohio Sept. 8,

   2017).

            This Court remains concerned that midazolam may not be the best drug for initiating a

   lethal injection execution. It appears from the historical record that barbiturates, for example, are

   better suited to that task because of their ability to achieve and maintain General Anesthesia. But

   General Anesthesia, particularly in the sense of rendering a subject completely insensate to pain,

   is not constitutionally required. Plaintiffs have not proven that injection of the second and third

   drugs in Ohio’s will cause them to experience severe pain when midazolam at 500 mg. is the

   initial dose.




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          Second Branch: Alternative Method Requirement



          To succeed on a § 1983 challenge to a method of execution, a plaintiff must plead and

   prove that there exists a known and available, readily-implemented, method of execution that

   entails a significantly less substantial risk of severe pain and needless suffering. Glossip, 135 S.

   Ct. at 2737.

          In its prior decision, the Court found that the alternative of a one-drug, barbiturate-only

   method using either sodium thiopental or pentobarbital met the Glossip standard. In re: Ohio

   Execution Protocol Litig. (Phillips, Tibbetts, & Otte), 235 F. Supp. 3d 892, 954(S.D. Ohio,

   2017). In reversing, the en banc Sixth Circuit also criticized this portion of the decision, writing:

                  [T]he district court also erred in its analysis of Glossip's second
                  prong—which requires the plaintiffs to prove that an alternative
                  method of execution is "available," "feasible," and can be "readily
                  implemented," among other things. Id. at 2737. The court found
                  this requirement met as to one of the plaintiffs' proposed
                  alternatives, namely a one-drug, barbiturate-only method using
                  either sodium thiopental or pentobarbital. The court acknowledged,
                  however, that Ohio no longer has any supplies of these drugs, that
                  "Ohio's efforts to obtain the drug from other States and from non-
                  State sources have not met with success[,]" and that Ohio is "not
                  likely" to overcome these obstacles anytime soon. R. 948 at 32229.
                  Yet the court concluded that barbiturates are "available" to Ohio
                  because "there remains the possibility" that Ohio can obtain the
                  active ingredient of pentobarbital and have it made into injectable
                  form by a compounding pharmacy. Id.

                  The district court was seriously mistaken as to what "available"
                  and "readily implemented" mean.

   Fears, supra, at 890. “[F]or that standard to have practical meaning, the State should be able to

   obtain the [alternative] drugs with ordinary transactional effort.” Id. at 891. In Glossip, the

   Supreme Court majority adopted what had been a plurality holding in Baze, to wit, that “the
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   Eighth Amendment requires a prisoner to plead and prove a known and available alternative.”

   135 S. Ct. at 2739.

          Plaintiffs Tibbetts and Campbell present two alternative methods of execution in their

   Motions:

                  Alternative 1

                  a) DRC Defendants shall fully and formally adopt Incident
                  Command Systems principles into their Execution Protocol as a
                  Core Element.

                  b) DRC Defendants shall strictly comply with all portions of their
                  Execution Protocol.

                  c) DRC Defendants shall not be permitted to use any method of
                  execution that includes a paralytic drug and/or potassium chloride.

                  d) DRC Defendants shall not be permitted to use any method of
                  execution that includes midazolam, whether as part of a one-drug
                  or three-drug method or any other method.

                  e) DRC Defendant must instead use a one-drug, barbiturate-only
                  method, such as DRC Defendants adopted in November 2009, and
                  with sodium thiopental or pentobarbital as the barbiturate.

                  f) The administration of drugs in Tibbetts’s execution shall not
                  begin until two working IV sites have been started and remain
                  viable in his peripheral veins.

                  g) In the event the DRC Defendants use compounded sodium
                  thiopental or compounded pentobarbital for the one-drug method,
                  DRC Defendants must meet all of the following requirements,
                  otherwise said compounded drugs shall not be used:

                         i. DRC Defendants must use only those compounded
                         execution drugs that are chemically and biologically
                         identical to FDA approved versions of said drugs as
                         currently or formerly sold in the United States (e.g.,
                         Nembutal).
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                   ii. DRC Defendants must use only those compounded
                   execution drugs that are properly compounded in strict
                   compliance with all requirements of US Pharmacopeial
                   Convention (USP) <797>, and manufactured in strict
                   compliance with all requirements of Current Good
                   Manufacturing Practices (cGMPs).

                   iii. DRC Defendants shall not use compounded execution
                   drugs that are past their beyond-use date or that are
                   otherwise adulterated.

                   iv. For any compounded execution drugs that are to be
                   used in Plaintiff’s execution, DRC Defendants and/or
                   Drug Source Defendants, as applicable, must provide to
                   Plaintiff, at least 30 days in advance of the execution date:

                      1. written, sworn verification of full compliance
                      with all relevant manufacturing (cGMPs) or
                      compounding (USP <797>) standards and
                      requirements in the production of said execution
                      drugs (including all requirements for matters such
                      as sterile production, labeling, packing, shipping,
                      storing, and using drug products as defined under
                      the applicable set of standards), with such
                      verification performed by a reputable, disclosed (to
                      Plaintiff’s counsel), independent third party, and
                      such verification to include satisfactory assessment
                      of all testing data and other data generated in the
                      manufacturing or compounding process under the
                      relevant standards;

                      2. written, sworn verification of satisfaction of
                      rigorous preexecution analytical testing of the
                      execution drug at a reputable, disclosed (to
                      Plaintiff’s counsel), independent analytical testing
                      laboratory to ensure the finished drug product is in
                      full compliance with USP <797> or cGMPs,
                      as applicable; and



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                      3. written, sworn verification of having submitted to
                      the federal FDA an Investigational New Drug
                      application for the use of the particular execution
                      drug in the form and dosage to be used against
                      Plaintiff, and/or provide Plaintiff a certified copy of
                      that application.

               h) DRC Defendants must not use execution drugs obtained from a
               Drug Source Defendant who has been found to be not in
               compliance with the full scope of the alternative methods and
               procedures proffered here, and DRC Defendants must present to
               Plaintiff in advance of execution, written, sworn verification of full
               compliance with all such alternative methods and procedures.

               i) DRC Defendants must not use execution drugs obtained from a
               Drug Source Defendant who has been found to be not in
               compliance with USP <797> standards during any state inspection
               in the last five years, and DRC Defendants must identify that Drug
               Source Defendant to Plaintiff in advance of execution so that
               Plaintiff can ensure the relevant Drug Source Defendant has not
               been so found; alternatively, if Plaintiff is denied identification
               information for whatever reason, DRC Defendants must present to
               Plaintiff in advance of execution written, sworn verification that
               Drug Source Defendant in question has not been found to not be in
               compliance with USP <797> standards during any state inspection
               in the last five years.

               j) DRC Defendants must not use execution drugs obtained from a
               Drug Source Defendant who has been found to not be in
               compliance with cGMP standards during any FDA or state
               inspection in the last five years, and DRC Defendants must
               identify that Drug Source Defendant to Plaintiff in advance of
               execution so that Plaintiff can ensure the relevant Drug Source
               Defendant has not been so found; alternatively, if Plaintiff is
               denied identification information for whatever reason, DRC
               Defendants must present to Plaintiff in advance of execution
               written, sworn verification that Drug Source Defendant in question
               has not been found to not be in compliance with cGMP standards
               during any FDA or state inspection in the last five years.



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                     k) DRC Defendants must additionally test the final product and its
                     components no more than two days before the scheduled
                     execution, testing for identity, contaminants, bacterial endotoxins,
                     pyrogens, concentration, sterility, proper pH level, potency, and
                     purity. DRC Defendants must provide that data to counsel for
                     Plaintiff immediately upon receipt. If the data generated by that
                     analytical testing is outside the level acceptable under the
                     applicable USP Monograph and any other authoritative source of
                     standards for the drug, Defendants shall not proceed with the
                     scheduled execution of Plaintiff for at least 60 days.

                     l) DRC Defendants must use accepted and scientifically reliable
                     medical standards, equipment and techniques to assess the point at
                     which irreversible cessation of circulatory and respiratory
                     functions or irreversible cessation of all functions of the brain has
                     occurred and Plaintiff is clinically and legally dead, and must
                     continue repeated injections of 5 grams of the one-drug method
                     barbiturate every three minutes until that point has been achieved;

                          i. DRC Defendants must constantly monitor, from before
                          first injection of the execution drug, Plaintiff’s heart’s
                          electrical activity through an electrocardiogram, his blood
                          pressure, his heart rate, and his respiratory gases through
                          capnography21.

                          ii. DRC Defendants must constantly monitor, from before
                          first injection of the execution drug, Plaintiff’s brain’s
                          electrical activity using electroencephalography (EEG)
                          with a product such as the StatNet™ headpiece.

                          iii. These assessments and equipment must be employed
                          by individuals who possess sufficient qualifications and
                          experience to, and must, continuously engage them from
                          within the execution chamber.

                     m) DRC Defendants shall have the following on hand in the Death
                     House, as well as the means and personnel trained and capable of

   21
     Defined as the monitoring of the concentration of exhaled carbon dioxide in order to assess the physiologic status
   of patients with acute respiratory problems or who are receiving mechanical ventilation and to determine the
   adequacy of ventilation in anesthetized patients. Dorland’s Medical Dictionary, 28th edition.

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               administering or applying them to Plaintiff in the event Plaintiff is
               not clinically and legally dead after a reasonable period of time:

                   i. supplies of oxygen;
                   ii. resuscitative drugs;
                   iii. ventilation equipment including a ventilation bag,
                   valve and mask;
                   iv. intubation equipment;
                   v. any and all means necessary to maintain a patent
                   (uncompromised) airway and support of ventilation;

               n) DRC Defendants shall have on-site at SOCF a means to prepare
               and transport an inmate to an emergency health-care provider
               facility.

               Alternative 2

               a) DRC Defendants shall fully and formally adopt Incident
               Command Systems principles into their Execution Protocol as a
               Core Element.

               b) DRC Defendants shall strictly comply with all portions of their
               Execution Protocol.

               c) The paralytic drug shall not be used.

               d) Any execution drugs used in Plaintiff’s execution using the two-
               drug method involving midazolam and potassium chloride under
               this Alternative 2 shall be pharmaceutical grade for human use,
               FDAapproved, sterile and unexpired. As used here, the term
               “FDAapproved” includes both the drug itself (i.e., that the drug’s
               formula is approved for distribution to consumers) and the process
               for manufacturing the drug.

               e) The administration of drugs in Plaintiff’s execution shall not
               begin until two working IV sites have been started and remain
               viable in Plaintiff’s peripheral veins. One of the two peripheral IV
               lines must be reserved for injection of the initial bolus of
               midazolam, followed thereafter by a continuous titration of
               midazolam at the rate of 2 mg/minute. Administration of a constant


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               supply of midazolam at the rate of 2 mg/minute in that dedicated
               IV line shall continue from the initial injection of midazolam until
               Plaintiff is clinically and legally dead, including throughout the
               time when the potassium chloride is injected in the other IV line.

               f) DRC Defendants must assign one or more execution team
               members or other persons under the Execution Protocol to be
               responsible for monitoring Plaintiff during the execution as further
               detailed below, to determine whether the midazolam has rendered
               him fully unconscious, unaware, and insensate to noxious stimuli
               such as pain and that Plaintiff remains unconscious, unaware, and
               insensate throughout the entire process following initial injection
               of the first drug. DRC Defendants must also use accepted and
               scientifically reliable medical standards, equipment and
               techniques, including the following, to assess the point at which
               irreversible cessation of circulatory and respiratory functions or
               irreversible cessation of all functions of the brain has occurred and
               Plaintiff is clinically and legally dead.

                   i. These persons must possess sufficient qualifications and
                   experience to, and must, continuously do the following
                   from within the execution chamber:

                   ii. monitor Plaintiff by constantly assessing him for
                   clinical signs of awareness including purposeful and
                   reflex movement, dilated pupils, tearing from the eyelids,
                   sweating, and an elevated heart rate; and

                   iii. monitor Plaintiff’s heart’s electrical activity through
                   an electrocardiogram, his blood pressure, his heart rate,
                   and his respiratory gases through capnography; and

                   iv. monitor Plaintiff’s brain’s electrical activity using
                   electroencephalography (EEG) with a product such as the
                   StatNet™ headpiece.

               g) The administration of the potassium chloride by the drug
               administrator shall not be started until these persons, using the
               appropriate equipment and making the necessary checks to monitor



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                  Plaintiff, have determined that the midazolam has rendered
                  Plaintiff fully insensate to pain and unaware and that he remains in
                  that state until he is clinically and legally dead.

                  h) DRC Defendants shall have the following on hand in the Death
                  House, as well as the means and personnel trained and capable of
                  administering or applying them to Plaintiff in the event Plaintiff is
                  not clinically and legally dead after a reasonable period of time:

                       i. supplies of oxygen;
                       ii. resuscitative drugs, such as the reversal agent or
                       antidote called flumazenil for midazolam;
                       iii. ventilation equipment including a ventilation bag,
                       valve and mask;
                       iv. intubation equipment;
                       v. any and all means necessary to maintain a patent
                       (uncompromised) airway and support of ventilation;

                  i) DRC Defendants shall have on-site at SOCF a means to prepare
                  and transport an inmate to an emergency health-care provider
                  facility.

   (ECF No. 1261, PageID 46157-63; ECF No. 1262, PageID 46280-85,)



          The Evidence on the Alternative Method Requirement



          Plaintiffs presented no evidence on their proposed alternatives except for several

   admissions made in discovery that Southern Ohio Correctional Facility, where the execution

   chamber is located, has a 12-lead EKG machine. In particular there was no attempted showing

   that any barbiturate is “available” to the State of Ohio within the meaning of that term as set by

   the Sixth Circuit in Fears (“ordinary transactional effort”).

          The Court had expected a good deal more testimony on the use of monitoring devices and

   particularly on interpretation of their output by persons not members of the medical

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   professions.22      Although Nurse Depas and Dr. Sinha testified about the standard, indeed

   professionally required, use of such devices in a clinical setting, neither testified that the results

   of using those devices could be readily interpreted by an EMT or anyone else not prohibited

   ethically from participating in executions.

            Plaintiffs’ second alternative, requiring the use of midazolam and potassium chloride

   without a paralytic but with EKG monitoring, would, if Plaintiffs’ view of the science were

   correct, result in the State’s intentionally inflicting a painful death on an inmate, an Eighth

   Amendment violation in itself, while gathering evidence to present in the next preliminary

   injunction hearing of what happens when no paralytic is administered. It is difficult to credit this

   proposal as being made in good faith.

            Aside from the different drugs involved in the alternatives, no proof was offered that the

   State could possibly comply with the rigid procedural requirements of these proposals, at least in

   a way that would prevent endless additional litigation, i.e. with ordinary litigation effort. In

   particular the requirement for “strict compliance” with all provisions for the Execution Protocol

   without any administrative discretion, even with Director approval, seems unworkable. The

   compounded barbiturates provisions are very detailed and stringent and Plaintiffs made no

   showing these could be readily complied with. To date, so far as this Court has been informed,

   Ohio is no closer to having an import license from the Drug Enforcement Administration than it

   was in January.

            In sum, Plaintiffs have failed to prove that either of their suggested alternative methods

   satisfies the Glossip/Fears standard.



   22
     The reader should recall that every professional medical association has ethically forbidden its members to
   participate in executions. Because of the stringency of this prohibition, Dr. Sinha had to restrict his testimony, even
   though he was testifying on behalf of the condemned.

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   THE EQUAL PROTECTION CLAIMS



           Tibbetts’s and Campbell’s Fourth Causes of Action, as pleaded, set forth eighteen

   separate equal protection sub-claims23, but only the very first of these is at issue on the

   preliminary injunction motions: Campbell and Tibbetts assert they are similarly situated to all

   other Ohio death row inmates, but they will be “treated disparately due to Defendants’ deviations

   from their Execution Protocol. (Plaintiffs’ Written Closing Arguments, ECF No. 1355, PageID

   50471.)

           Plaintiffs offer argument only on their “burden on fundamental rights” theory which is

   embodied in the Fourth Cause of Action, sub-claim A.1. They offered no evidence or argument

   that either of them is being singled out as a “class of one.” This Decision therefore contains no

   analysis of the other nine “burden” sub-claims or the class-of-one theories which are pleaded in

   the last eight sub-claims of each Plaintiff.



           The Equal Protection Standard



           The Equal Protection Clause of the Fourteenth Amendment commands that no State shall

   "deny to any person within its jurisdiction the equal protection of the laws." U.S. Const. Amend.

   XIV, § 1. The Supreme Court has stated that this language "embodies the general rule that States

   must treat like cases alike but may treat unlike cases accordingly." Vacco v. Quill, 521 U.S. 793,

   799 (1997). The States cannot make distinctions which either burden a fundamental right, target

   a suspect class, or intentionally treat one person differently from others similarly situated without


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     Plaintiffs’ full Equal Protection claims are found at Tibbetts 4AC, ECF No. 691, PageID 20279, and Campbell
   4AC, ECF No. 978, PageID 36598.

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   any rational basis for the difference. Id.; Village of Willowbrook v. Olech, 528 U.S. 562, 564

   (2000) (per curiam); Radvansky v. City of Olmsted Falls, 395 F.3d 291, 312 (6th Cir. 2005).

   When the disparate treatment burdens a fundamental right, strict scrutiny applies. San Antonio

   Indep. Sch. Dist. v. Rodriguez, 411 U.S. 1 (1973); Bible Believers v. Wayne County, 805 F.3d

   228, 256 (6th Cir. 2015)(en banc); Miller v. City of Cincinnati, 622 F.3d 524, 538 (6th Cir. 2010);



   Burden on Fundamental Rights



          Plaintiffs’ Equal Protection sub-claim at issue here asserts that the State Defendants

   impose a burden on their fundamental rights when they “deviate” from the Execution Protocol,

   (Tibbetts 4AC, ECF No. 691, PageID 20279; Campbell 4AC, ECF No. 978, PageID 36598).

          The fundamental rights protected from state-imposed burdening by the Equal Protection

   Clause are those rights from the Bill of Rights incorporated into the Fourteenth Amendment Due

   Process Clause as “inherent in the concept of liberty.”          Rotunda & Nowak, Treatise on

   Constitutional Law (4th ed.) § 18.39. Although not all of the Bill of Rights have been thus

   incorporated, the Eighth Amendment has. McDonald v. Chicago, 561 U.S. 742 (2010), citing

   Robinson v. California, 370 U.S. 660 (1962) (cruel and unusual punishment). Thus the right to

   be free from cruel and unusual punishment is a fundamental right protected from state-imposed

   burdens that treat similarly situated persons differently without proper justification.




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          Judge Frost Addresses Equal Protection Claims



          Earlier in this litigation, Judge Frost recognized the distinction Plaintiffs make between a

   pure Eighth Amendment claim and an Equal Protection burden-on-fundamental-rights claim

   where the asserted underlying fundamental right is the right to be free from cruel and unusual

   punishment. In Cooey (Smith) v. Kasich, 801 F. Supp. 2d 623 (S.D. Ohio July 8, 2011), Judge

   Frost wrote that

                  The equal protection theory upon which Plaintiff proceeded at the
                  June 29, 2011 hearing is that Defendants' policy and pattern of
                  deviations from the written execution protocol treat each
                  condemned inmate differently, burdening his fundamental rights
                  and constituting disparate treatment that is not rationally related in
                  any way to a legitimate state interest. The threshold question is
                  therefore whether Plaintiff is correct that Defendants routinely
                  deviate from mandated or core provisions set forth in the written
                  protocol. The brief answer is yes.

   Id. at 642-43. “Although everything in the written protocol is important, not everything in that

   protocol is of equal importance for purposes of scrutiny in light of the Constitution.” Id. at 644.

   Judge Frost then proceeded to find “at least four deviations from the core components of the

   written protocol” Id.

          In In re: Ohio Execution Protocol Litig.(Brooks), 2011 WL 5316141 (S.D. Ohio Nov. 4,

   2011), Judge Frost denied injunctive relief on the same two Equal Protection claims which had

   been successful in Smith, but adhered to the same Equal Protection analysis: deviations from

   Core Elements of the Execution Protocol would be found to be constitutional violations, but

   Brooks had not proven such deviations were likely to happen at his execution.

          In In re: Ohio Execution Protocol Litig. (Lorraine), 840 F. Supp. 2d 1044 (S.D. Ohio

   2012), Judge Frost again employed the same Equal Protection analysis. He noted that “[t]he

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   fundamental right involved in inmate claims is the right to be free from cruel and unusual

   punishment.” Id. at 1054. He continued that the Equal Protection claim made by Lorraine

                       sufficiently targets that sweeping core deviations24 would at least
                       burden Plaintiff's fundamental right by negating some of the
                       precise procedural safeguards that this Court and the Sixth Circuit
                       heralded in prior discussions of Eighth Amendment claims in this
                       same litigation.


   Id., quoting Cooey v. Strickland (Smith), 801 F. Supp. 2d 623 at 653 (S.D. Ohio 2011). Judge

   Frost granted Lorraine preliminary injunctive relief on finding constitutionally significant

   deviations from the protocol during the Brooks execution: “Defendants have failed to present

   this Court with any evidence that the non-core deviations were presented to [ODRC Director]

   Mohr.” 840 S. Supp. 2d at 1058.

               In In re: Ohio Execution Protocol Litig.(Wiles), 868 F. Supp. 2d 625 (S.D. Ohio Apr. 4,

   2012), Judge Frost reiterated the same Equal Protection framework, but added the nuance,

   derived from Towery v. Brewer, 672 F.3d 650 (9th Cir. 2012), that the deviations on which

   various plaintiffs had focused “were more likely to create a risk of cruel and unusual punishment

   than executions without the deviations. Id. at 638-39. He read this as reinforcing the distinction

   he had been drawing between full-blown Eighth Amendment violations and state actions which

   increased the risk of an Eighth Amendment violation by removing a protection against one. He

   found Wiles was unlikely to prevail on his Equal Protection claims and denied injunctive relief.

   Wiles did not appeal and was executed.

              In In re: Ohio Execution Protocol Litig. (Hartman), 906 F. Supp. 2d 759 *S.D. Ohio

   Nov. 5, 2012), Judge Frost employed the same Equal Protection analysis as in Wiles, but

   concluded that “the asserted deviations of which Hartman complains . . . fail to constitute

   24
        In Judge Frost’s usage, “core deviation” means deviation from a core element of the Execution Protocol.

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   problems that present a strong likelihood of his succeeding on the merits.” Hartman did not

   appeal and was executed.

           Finally, in In re: Ohio Execution Protocol Litig. (Phillips), 2013 U.S. Dist. LEXIS

   159680 (S.D. Ohio Nov. 7, 2013), Judge Frost again maintained the distinction between Eighth

   Amendment violations and state actions which burden the fundamental right to be free from

   cruel and unusual punishment. Again, however, Judge Frost found no equal protection violations

   and denied Phillips25 injunctive relief. Phillips did not appeal.

           Reciting this history, Tibbetts and Campbell conclude “[t]he Sixth Circuit’s published

   decision in Lorraine definitively resolves, as a matter of law, that Plaintiffs’ Equal Protection

   claims are distinct legally and analytically from their Eighth Amendment claims. . . .Lorraine is

   the law of this case.” (Joint Reply, ECF No. 1289, PageID 47171).                      Tibbetts and Campbell

   regard it as “stunning” that Defendants do not mention “that directly on-point, binding caselaw”

   or Judge Frost’s decisions in Smith and Lorraine which are argued to be “highly persuasive if not

   outright controlling.” Id.



           The Law of the Case on Equal Protection



           Plaintiffs thus have a very strong view of what the law of this case is on their equal

   protection claims. In their Written Closing Arguments they claim:

                    Under the law of this case, any deviation from any of the five Core
                    Elements is a per se Equal Protection Clause violation. If a
                    deviation from any of the other provisions is not authorized in
                    advance in writing by the Director, it constitutes a deviation from
                    Core Element #5.

   25
     This is the same Ronald Phillips to whom this Court granted injunctive relief in January 2017 which was later
   vacated by the en banc Sixth Circuit. Phillips was executed July 26, 2017.

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   (ECF No. 1355, PageID 50474).

          This Court disagrees with this very broad reading of the law of this case as applied to the

   Equal Protection claims.

          Plaintiffs first characterize as a “deviation” any failure to comply with any provision of

   the Execution Protocol which they say incorporates informal execution policies including

   “admissions and representations the ODRC Defendants have made in response to discovery

   requests, . . . representations that the ODRC Defendants have made in various pleadings, motions

   and proceedings throughout the course of this litigation, including testimony presented in

   hearings before the Court.” (Plaintiffs’ Written Closing Arguments, ECF No. 1355, PageID

   50473).

          That cannot be the law.       Judge Frost himself refused to “constitutionalize” every

   provision of the Protocol, much less add to it everything any ODRC staff person had said in

   discovery or testimony. Even the most solemn of representations by the State to this Court and

   to the Sixth Circuit, to wit, that a paralytic drug and potassium chloride would never be used

   again, were held by the Sixth Circuit insufficient to support a judicial estoppel finding. Fears,

   supra, at 891-92. If a State representation sufficiently solemn to induce dismissal of an appeal is

   not somehow “added” to the Protocol, no more can other execution “policies” become binding as

   a matter of constitutional law.

          Applying the general law of the case principles outlined above to its asserted application

   here, the Court deals first with In re: Ohio Execution Protocol Litig. (Lorraine), 671 F.3d 601

   (6th Cir. 2012). That published decision of the Sixth Circuit is a three-paragraph order denying

   the State of Ohio’s emergency motion to vacate Lorraine’s stay of execution. The Order is not a



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   full decision on appeal from Judge Frost’s decision. Nor does it discuss any of Plaintiffs’ equal

   protection claims or their various theories of the Equal Protection Clause. All it does is refuse to

   interfere, on an emergency basis26, with the District Court’s grant of preliminary injunctive

   relief. Of course it is binding on this Court, but it should not be read for propositions broader

   than that for which it stands, to wit, that it was not error for Judge Frost to grant preliminary

   injunctive relief on the basis of the equal protection claims made by Lorraine. That is the only

   appellate decision that supports Plaintiffs’ equal protection theory

           Turning to law of the case on equal protection at the district court level, two points must

   be observed.       First of all, every injunctive relief order that Judge Frost entered was for

   preliminary relief. “An order granting or denying a preliminary injunction . . . rests on tentative

   findings that are subject to reconsideration, either at trial or during later stages of pretrial

   proceedings.” 18B Wright, Miller, & Cooper, Federal Practice and Procedure: Jurisdiction 2d §

   4478.1. In every one of his decisions, Judge Frost noted that the findings were not final.

           Second, this is a consolidated case. Cases consolidated under Fed. R. Civ. P. 42(a) retain

   their separate identity. Patton v. Aerojeet Ordnance Co., 765 F.2d 604 (6th Cir. 1985); 9 Wright

   & Miller, FEDERAL PRACTICE AND PROCEDURE: CIVIL 3D § 2382. “[C]onsolidation is permitted

   as a matter of convenience and economy in administration, but does not merge the suits into a

   single cause, or change the rights of the parties, or make those who are parties in one suit parties

   in another.” Johnson v. Manhattan Ry. Co., 289 U.S. 479, 496-97 (1933); Lewis v. ACB

   Business Servs., Inc., 135 F.3d 389 (6th Cir. 1998). Law of the case doctrine speaks principally

   to consistency in the treatment of one party to one case; its application is appropriately

   attenuated when dealing with the separate cases that have been consolidated here.


   26
     The Order was entered January 13, 2012, two days after Judge Frost entered the injunction and five days before
   Lorraine’s scheduled execution.

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          With those strictures in place, this Court believes that, consistent with law of the case

   doctrine, its rulings here should be consistent with Judge Frost’s decisions in Wiles, Hartman,

   and Phillips, to wit, (1) Eighth Amendment and Equal Protection analyses are analytically

   distinct; (2) intentional state action in connection with an execution which burdens an inmate’s

   fundamental Eighth Amendment right by increasing the risk that he will suffer severe pain and

   needless suffering is actionable under the Equal Protection Clause but (3) not every “deviation”

   from the Execution Protocol increases that risk.

          Therefore, to prove an Equal Protection violation, Plaintiffs must show an intentional

   state action (action properly attributable to the State under Monell, supra,) which treats one death

   row inmate disparately from others and burdens that inmate’s Eighth Amendment right by

   increasing the risk he will suffer severe pain and needless suffering.

          To meet the Monell branch of this test, Plaintiffs must show unconstitutional policy, not

   just past unconstitutional acts. Judge Frost wrote the “Constitution [does] not require perfect

   adherence to every single provision of Ohio’s execution protocol without deviation[.]” In re

   Ohio Execution Prot. Lit. (Wiles), 868 F. Supp. 2d 625, 626 (S.D. Ohio 2012). In fact, Judge

   Frost explained that “[m]istakes happen” and “random misadventures that can result when Ohio

   errs by not following its protocol may be regrettable but constitutional[.]” Id.

                  “[E]vidence of prior accidents in the administration of an
                  execution protocol does not render the protocol itself per se
                  unconstitutional.” Cooey (Biros), 589 F.3d at 224. The deviations
                  upon which the Court granted the relief in years past “often were
                  ‘more likely to create a risk of cruel and unusual punishment’ than
                  an execution without the deviations and ‘did affect the risk of pain
                  to which they would be subjected, and therefore the risk of being
                  subjected to cruel and unusual punishment.’”




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   Id. at 638-39. Campbell and Tibbetts cannot show a continuing violation which is likely to

   recur during their executions because “this Court has not found a single deviation establishing an

   equal protection violation and granted a stay since 2012.” ECF No. 1282, PageID 46764, citing

   In re: Ohio Execution Protocol Litig., 840 F. Supp. 2d 1044 (S.D. Ohio 2012). In a portion of

   the January decision which Plaintiffs did not appeal the Court ruled against them on the four

   equal protection claims they made in those proceedings.

          Plaintiffs must do more than merely establish that the Defendants have erred in the past

   (assuming arguendo that they did so), they must establish that the error is likely to reoccur and

   will affect the risk of pain. “Permitting constitutional challenges to lethal injection protocols

   based on speculative injuries and the possibility of negligent administration is not only

   unsupported by Supreme Court precedent but is also beyond the scope of . . . judicial authority.”

   Cooey (Biros), supra at 225.

          If Plaintiff can show state action and disparate treatment, the State can attempt to justify

   the differential treatment by showing it is narrowly tailored to serve a compelling governmental

   interest. Vacco, supra; Miller v. City of Cincinnati, 622 F.3d 524, 538 (6th Cir. 2010).

          When strict scrutiny applies, the state actors must justify disparate treatment by showing

   a compelling governmental interest. Citizens United v. Federal Election Comm., 558 U.S. 310,

   340 (2010)(speech); Johnson v. California, 543 U.S. 499 (2005)(race); Plyler v. Doe, 457 U.S.

   202, 216-17 (1982).

          Plaintiffs assert that “[a]ny deviations from the Core Elements can never be said to be

   tailored to a compelling governmental interest, because Ohio’s desire to execute its death-

   sentenced prisoners is not a compelling state interest. (Motion, ECF No. 1261, PageID 46170-




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   71). They cite the characterization of that interest in Baze, supra, and Nelson, supra., as

   “legitimate,” rather than compelling.

          The State’s interest in these cases is not in execution per se, but in enforcement of the

   judgments of its courts. Each Plaintiff in this case will be executed, if at all, pursuant to a

   warrant issued by the Ohio Supreme Court on a conviction which has received the most thorough

   judicial review known to American jurisprudence. Ohio’s compelling state interest is in having

   the judgments of its courts carried out. Absolutely core to the rule of law is that courts’

   judgments be executed, whether or not those judgments evince good public policy. To put it

   another way, whether or not executing those guilty of murdering others is desirable or important

   or even vitally necessary is beside the point in deciding whether there is a compelling

   governmental interest in carrying out court judgments.

          Applying an extra protection for one prisoner (re-testing compounded pentobarbital) does

   not create an equal protection class-of-one right in other prisoners to obtain re-testing. Wood v.

   Collier, 836 F.3d 534 (5th Cir. 2016), relying on discretion discussion in Engquist v. Oregon De’t

   of Agric., 533 U.S. 591 (2008). To the same effect is In re: Ohio Execution Protocol Litigation

   (Hartman), 2012 U.S. Dist. LEXIS 158199 (S.D. Ohio Nov. 5, 2012), quoting Towery v. Brewer,

   672 F.3d 650 (9th Cir. 2012). That rationale would apply to any extra accommodation given to

   one Ohio prisoner that was not made to others, e.g. the extra visitation time with his brother that

   the Warden accorded to Ronald Phillips on the day of his execution.




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   Claimed Equal Protection Violations



          Despite the prolixity of their pleading, Plaintiffs pursue only four equal protection claims

   in the instant proceeding. They assert that their own executions must be enjoined because:

   1.     Defendants did not accommodate Gary Otte’s obesity;

   2.     Defendants did not provide Attorney Wright with free access to the telephone during the

   Otte execution;

   3.     Defendants did not perform the required number of consciousness checks on Otte; and

   4.     Defendants did not properly document the Otte execution.

   (Plaintiffs’ Proposed Findings of Fact and Conclusions of Law, ECF No. 1319).

          To prevail, Plaintiffs must show that each of these acts or omissions actually happened,

   was pursuant to policy or custom, burdened Otte’s right to be free of cruel and unusual

   punishment, and is likely to be repeated for the Campbell and Tibbetts executions.




   Medical Accommodation



          Gary Otte’s medical review on August 25, 2017, showed him as being morbidly obese

   (ECF No. 1262-2). Plaintiffs argue that that this fact made it “very likely” Otte would obstruct,

   that Defendants should have inferred that likelihood from the obesity, and that they should

   therefore have taken steps to prepare for it, including communicating any concerns the Execution

   Team had to the SOCF Warden.




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          This claim fails at several points. First of all, no proof was offered that Defendants

   should have known morbid obesity creates a risk of obstructing. Nurse Depas testified that she

   had made that inference, but it was not shown that this correlation is so well known that the

   medical team members would know it. Nurse Depas is, after all, a nurse anesthetist with twenty-

   eight years experience.

          Second, Plaintiffs have not shown that failure to accommodate Otte was pursuant to a

   policy of not accommodating similar concerns and is therefore likely to be repeated at the

   Campbell and Tibbetts’ executions. We know from the hearing that Defendants are aware of

   many of the medical difficulties Campbell faces, although none were shown for Tibbetts. During

   the hearing the Court was advised of discussions among counsel about accommodating

   Campbell’s breathing problems with a wedge to enable him to lie more erect during the

   execution. Thus Plaintiffs have not proved whatever failure to accommodate occurred with Otte

   is likely to be repeated with Campbell and Tibbetts.

          Third, Plaintiffs’ manifest theory is that every failure to follow the Execution Protocol is

   a “deviation.” This failure to plan for dealing with Otte’s morbid obesity is said to violate one of

   the non-core elements of the Protocol, but to have been done without prior authorization by

   Director Mohr. Therefore the deviation is argued to be one of Core Element 5 which requires the

   Director’s approval for all non-core “deviations.”

          The Core Elements of 01-COM-11 read as follows:

          1. At least three Medical Team Members, two of whom are authorized to administer

   drugs under Ohio law, shall be used in the conduct of court-ordered executions.

          2. The drugs required by this policy shall be used.

          3. Functions required to be performed by medically-qualified persons, as described in this

   policy, shall be performed by Medical Team Members.
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           4. All Execution Team functions shall be performed by appropriately trained and

   qualified members of the Execution Team.

           5. Only the Director can authorize a variation from the procedures stated in this policy

   but not a variation from the four requirements listed immediately above in subsection V.1.2.3.

   and 4. of this policy.

   (PX1, ODRC Policy 01-COM-11, ¶¶ V. 1–5, October 7, 2016.)

           The Protocol provisions from which the ODRC Defendants are alleged to have deviated

   read:

                   Paragraph VI.B.3.c of the Execution Protocol requires Defendants
                   to assess the condemned prisoner’s “medical condition” “in order
                   to identify any necessary accommodations or contingencies that
                   may arise from the prisoner’s medical condition or history” and to
                   communicate as soon as possible to the SOCF Warden “[a]ny
                   medical condition or history that may affect the performance of the
                   execution.” The SOCF Warden must “confer with others as
                   necessary to plan” for problems in the execution.

                   Paragraph VI.B.3.a requires the same with respect to the
                   Defendants’ review of the inmate’s medical chart “to establish any
                   unique factors which may impact the manner in which the
                   Execution Team carries out the execution.” The Protocol further
                   mandates that “[p]otential problems shall be noted and discussed,
                   and potential solutions considered, in advance of the execution.”
                   Further, any “potential issues shall be communicated to the” SOCF
                   Warden “as soon as possible.”

                   Paragraph VI.B.3.d requires that “any concerns or plans for
                   medical accommodations or contingencies shall be communicated
                   to the Execution Team in order that these things may be discussed
                   and addressed in execution trainings or rehearsals.”




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   (Quoted at Plaintiffs’ Written Closing Arguments, ECF No. 1355, PageID 50475.) These are not

   Core Elements, so the allegation is that they violate Core Element 5 because Director Mohr did

   not authorize them.

          Plaintiffs argue the Defendants deviated from each of these requirements. They are said

   to have had constructive notice – from the “morbidly obese” note – that he was likely to obstruct.

   Id. Yet they failed to note likelihood of obstruction and air hunger as “potential problems,”

   failed to notify the SOCF Warden of “concerns” and “potential issues,” “failed to identify

   necessary accommodations or contingencies,” and Warden Erdos failed to “confer with others”

   to “plan such accommodations or contingencies” as might be necessary/. Id. at PageID 50476.

          Plaintiffs’ analysis turns 42 U.S.C. § 1983 upside down. The policy of the State of Ohio

   as expressed in 01-COM-11 is that appropriate medical assessment and accommodation shall be

   made. If any of the ODRC staff who participated in Otte’s execution did not provide that

   assessment and accommodation, it was not because they were following policy, but because they

   were not following policy. To put it another way, if Plaintiffs had shown that there was a custom

   or practice of ignoring the policy or if they had shown the person responsible for making policy,

   Director Mohr, had in effect told staff to ignore the medical assessment and accommodation

   provisions of the Protocol, they might have made out a case, at least as to Otte. Compare

   Pembaur v. City of Cincinnati, Ohio, 475 U.S. 469 (1986).

          Ohio’s Execution Protocol is not a strict liability statute. If one of the persons who is

   charged with carrying it out fails to perform one of his or her required functions, that is a failure

   that needs to be corrected, but that does not make the failure a violation of the Constitution.




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          It is anomalous to suggest that a failure to follow policy is a deviation which would

   somehow be authorized in advance by Director Mohr. Presumably that is why Core Element 5

   speaks of his authorizing “variations,” not “deviations.”

          While negligently not carrying out a proper medical assessment and providing

   appropriate accommodation for Mr. Otte may have increased his risk of suffering severe pain, it

   was not a constitutional violation because it was not (or at least not shown to be) intentional state

   action. Even if it had been a violation of Otte’s constitutional rights, it would not justify

   enjoining the execution of either Alva Campbell or Raymond Tibbetts because there was no

   showing that the failure to do a proper medical assessment and provide appropriate

   accommodations will likely be repeated for them.



   Attorney Telephone Access



          The Execution Protocol also provides “Paragraph VI.G.2 If the prisoner chooses to have

   his or her counsel as a witness, at all times after counsel enters the witness room, counsel shall

   have free access to the phone near the entrance to the death house.”

          The testimony at the hearing established that Carol Wright was one of Gary Otte’s

   counsel and that her identity as an attorney was known to Patrick Parsons, an SOCF staff person

   who escorted her as part of a group of people who would be in the inmate’s witness room in the

   Death House, from the point where that group assembled to the relevant witness room. Ms.

   Wright heard the door click after she entered the room and inferred the door was locked; she had

   witnessed prior executions and did not recall having had that experience before.




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          When Nurse Depas made the comment “he’s obstructing,” Ms. Wright arose and

   attempted to leave the room, but found the door locked. She communicated to the SOCF person

   on the outside of the door, designated as Door Man 3, and now identified as Jamie Woods, that

   she needed to leave. She did not identify herself to him as an attorney, nor did she state what she

   needed to leave for. He interpreted her request to leave as stating an intention to go back to the

   assembly point, knew that she would need an escort across the Yard, and went to communicate

   that need to Deputy Warden Cool. He then came from his location in the Death House,

   ascertained what Ms. Wright actually needed, and let her out of the witness room to use the

   telephone. As noted above, her purpose was to communicate what she and Nurse Depas had

   seen to her colleague, Attorney Allen Bohnert, in support of a request to the Court for an

   emergency temporary restraining order to prevent the execution’s going forward. The delay in

   reaching the Court meant that by the time that occurred, Ms. Wright was observing behavior on

   Mr. Otte’s part consistent with an end of the obstructing activity.

          Plaintiffs argue

                  Any interpretation of this provision mandating “free access” that
                  would consider what happened with Ms. Wright not to have
                  violated it is as credible as the Defendants’ post-hoc interpretation
                  of their promises that formed the basis of the judicial estoppel
                  claim this Court considered in January.

   (Written Closing Arguments, ECF No. 1355, PageID 50478). Plaintiffs’ position here is strongly

   redolent of the most wooden versions of the plain meaning rule for interpreting written language.

   But ascertaining meaning is rarely if ever that simple.               See Michael R. Merz, The

   Meaninglessness of the Plain Meaning Rule, 4 Univ. Dayton L. Rev. 31 (1979).




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            More importantly, rules do not apply themselves27. The plain meaning rule is often a

   formalist mask where the essence of the invoker’s point is “Any damned fool can see this rule

   means what I think it means.”               All rules need application by people and all rules need

   interpretation by their appliers. Yes, the rule in question does require giving inmates’ attorneys

   free access to the telephone in the hallway. Yes, what Ms. Wright got was not “free access.”

   Yes, the free access rule appears to be intended28 to deal with precisely the situation that arose

   here. Yes, Patrick Parsons knew Ms. Wright was an attorney for Mr. Otte. But the rule of free

   access conflicted with other rules that applied to the situation: (1) doors in the Death House that

   were not being immediately used for ingress and egress are to be locked; (2) persons in the

   witness room may not leave the Death House without an escort to take them across the Yard. To

   apply these rules in a way so as to resolve the conflicts between them, Door Man 3 had to know

   certain facts: (1) that the person wanting out of the room was an attorney and (2) that that person

   wanted to use the telephone and not to leave the Death House. As soon as Deputy Warden

   William Cool was brought to the door, he recognized Ms. Wright and knew her to be an

   attorney; he immediately gave her access to the telephone. In other words, once a person who

   knew the relevant facts and who had authority to interpret and apply the rule was present, Ms.

   Wright was given access to the telephone.

            Plaintiffs’ approach here is again one of strict liability:                 By their lights, all SOCF

   personnel present are bound to know the rule and all of the relevant facts and apply them


   27
      “The application of a simple rule ought itself to be simple. But that is not so, Aristotle says,” noting the need to
   exercise practical judgment in the application of rules. Lon Fuller, The Morality of Law, citing Nichomachean
   Ethics, Book V, 1137a. See also Solum “Virtue Jurisprudence: Towards an Aretaic Theory of Law, in Huppes-
   Cluysenaer and Coelho, Aristotle and the Philosophy of Law: Theory, Practice and Justice “Practical wisdom or
   good judgment is required to insure that rules are applied correctly.” Id. at 27.
   28
     Plaintiffs claim this rule was “expressly established to provide witnessing counsel a way to contact the Court
   during an execution” (ECF No. 1355, PageID 50479). But they provide no writing in which that expression is
   recorded.

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   instantaneously to produce the result Plaintiffs believe is correct. Any failure to perform to this

   standard is a “deviation,” amounting to a violation of the Equal Protection Clause unless Director

   Mohr approved it in writing in advance.          Of course Director Mohr did not approve this

   “deviation.” Had he been asked to do so in advance, he presumably would have directed that

   Ms. Wright be let out at once, since that is the purpose of the rule.

          Moreover, even if there had been a constitutional violation in Mr. Otte’s case, that would

   not imply that the same violation would occur at either Campbell’s or Tibbetts’s execution. The

   Court was advised during the hearing that SOCF has taken steps to acquire badges to identify

   attorneys who will in Ms. Wright’s position in the future. All that will be needed is for the

   attorney to announce her or his purpose (i.e., to use the telephone) and for Door Man 3 to be

   instructed to apply this portion of the Protocol to let attorneys with an announced proper purpose

   to exit immediately. That remedy does not require the positive injunctive relief of ordering those

   steps taken, much less the negative injunctive relief of prohibiting the executions.



   Failure to Perform Required Consciousness Checks



          Insufficient though they may be to assess the level of an inmate’s anesthesia (see

   argument above), Plaintiffs still want the Execution Team to perform the consciousness checks

   required by the Protocol. Paragraph VI.H.1.c.ii provides “[f]ollowing administration of syringes

   1 and 2 and before administration of the second and third drugs described in the subsection

   below, a Drug Administrator shall reenter the Execution Chamber to assess the prisoner’s

   consciousness.”




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          Here Plaintiffs do not rely on the plain meaning of the words in the Protocol. Instead,

   they rely on testimony from various team members of their intention to perform at least two of

   six different consciousness check techniques (Plaintiffs’ Written Arguments, ECF No. 1355,

   PageID 50482, citing the testimony of various team members). Moreover, they cite Director

   Mohr’s testimony that at least three consciousness checks will be performed. Id.

          Director Mohr’s testimony in this case does not become a part of the Protocol, and it is

   much less solemn than the commitment held insufficient by the Sixth Circuit on the judicial

   estoppel claim.

          Apart from argument over interpretation, this claim can be resolved from the testimony.

   Team Member 17 testified that he performed three consciousness checks: calling Mr. Otte’s

   name, lifting his eyelid and touching his eye, and providing hard object pressure to the bed of

   one of Otte’s fingernails. This testimony was corroborated by Team Member 10 and Warden

   Erdos, both of whom were in the execution chamber.

          Nurse Depas testified she only saw an eyelid lift without any touching of the eye, and

   neither of the other checks. Without questioning the sincerity of Nurse Depas, the Court credits

   the testimony of Team Member 17. He was much closer to the inmate than she and had no

   motive to reduce the number of consciousness checks performed, particularly because he knew

   he was being closely watched.

          Plaintiffs assert that calling the inmate’s name does not constitute issuing a verbal

   command as is allegedly required by best practices in administering these “consciousness

   checks.” While an express command would apparently be the better practice, calling an inmate’s

   name with a question inflection at the end would be generally understood as an implicit request

   for a response to show that the name caller has the named’s attention; failure to acknowledge



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   would be considered at least rude.. The difference is immaterial for purposes of the Fourteenth

   Amendment.

          This alleged failure to follow the Protocol has not been proved.



   Falsification of Documentation



          As their fourth asserted protocol violation, Plaintiffs assert the Otte execution paperwork

   was “falsified” in that (1) the accurate number of IV attempts in the right arm was misrecorded

   as one when in fact two attempts were made, (2) the documentation reflects three consciousness

   checks were performed when only one occurred, and (3) Mr. Otte’s tears and Ms. Wright’s

   attempt to get to the telephone were not documented.

          Based on the testimony presented, the Court finds that the records regarding the number

   of attempts at IV access was corrected and that the number of consciousness checks recorded

   was the number that actually occurred. The Protocol requires recording acts or events that were

   not anticipated and Ms. Wright’s difficulty getting to the telephone and Mr. Otte’s tearing (to the

   extent Execution Team members observed this happening) were certainly not anticipated. But

   failing to record events in a timeline is not a violation of the Constitution in that there is no

   showing it was intentionally done or done in Mr. Otte’s case as part of discrimination against

   him.   And Plaintiffs presented no evidence to support a claim that these records were

   intentionally “falsified,” as opposed to negligently completed.




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   Conclusion



          Messrs. Campbell and Tibbetts have failed to show that they are likely to succeed at trial

   in proving either the alleged Eighth Amendment or Fourteenth Amendment violations. Their

   Motions for Preliminary Injunction and Stay of Execution are DENIED.



   November 3, 2017.

                                                                 s/ Michael R. Merz
                                                                United States Magistrate Judge




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